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 7
                               UNITED STATES DISTRICT COURT
 8                       FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10    VALVE CORPORATION,                        No. 2:24-cv-1717

11                        Petitioner,           PETITION TO ENJOIN
                                                ARBITRATIONS
12                  v.

13    JENNIFER A NELSON, THOMAS
      ABBRUZZESE, ZAID ABUWANDI, CODY
14    ACKLEY, NOE ADAME, STEPHEN
      ADAMS, RYAN ADREANI, ZACHARY
15    ALETHEIA, YOUSIF ALSAQLAWI, ERIC
      ALSPAUGH, JONAH ANDERS, BRENNAN
16    ANDERSON, DAVID ANTOLIC, JOSE
      ARANDA, JACOB ARCHER, RYAN
17    ARDITO, FABIAN AREVALO, MEAGAN
      ARGO, STEVEN ARMANT, DANIEL
18    ARMSTRONG, MATTHIAS ARMSTRONG,
      DAVID ARROYO, JACOB ARTHUR,
19    GARRETT ATHAY, ANGEL AYALA,
      EDWIN AYALA, CHRISTIEN AYSON,
20    CADE AZARCON, NOAH BABINCSAK
      STYZEN, MATTHEW BAER, GAVIN
21    BAKER, CARTER BAKER, ABED
      BALBAKY, MATTHEW BALDWIN, ROB
22    BALDWIN, HARRIS BANKS, CODY
      BARKER, JACOB BARNHILL, STEPHEN
23    BARR, ROGER BARRETT, BRIAN
      BASKOVICH, CHRIS BASSFORD, RILEY
24    BAXTER, MICHAEL BAZZELL,
      JONATHAN BEER, ANTHONY BENNETT,
25    ADAM BERNAL, SHOUNTASIA BEVINS,
      ALEC BIRENBAUM, TAI BISHOP,
26    CHRISTOPHER BITTLE, MICHAEL
      BLANCO, STEPHANIE BLOMSTROM,
27    LEO BLONDEL, KILEY BORBA, GAVIN

28   PETITION - 1                                                 CORR CRONIN LLP
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 1    BORCHERS, RYAN BOREK, JOSHUA
      BOSMAN, XANDER BRENDE-PRINS,
 2    MICHAEL BREWER, SCOTT BREWSTER,
      AARON BRIGGS, TIMOTHY
 3    BROUGHTON, VINCENT BROWN,
      ETHAN BROWN, KENSHAD BROWN,
 4    ALEXANDER BRUMLEY, ERIC BUCK,
      NED BUDD, NOAH BURCH, PAUL
 5    BURNETT, KEVIN BURNETT, ZACHARY
      BURRY, JASE BUSBY, NICOLAAS BUSH,
 6    JOHNATHON BUSH, ANDREW BUTLER,
      OWEN BUTTERWORTH, GRIFFIN BYER,
 7    THOMAS BYRD, MICHAEL CALLONI,
      RICH CAMBERN, BENJAMIN
 8    CAMENKER, CARISSA CAMPOS,
      HARRISON CARLOW, JONATHAN
 9    CARLTON, STEVEN CARMIENCKE,
      ADAM CARROLL, NICK CARTER,
10    JEFFREY CASSICK, AARON
      CASTANEDA, MAURICE CASTRO,
11    CLYDE CHAFFEE, RILEY CHAPMAN,
      ERIC CHASTAIN, IAN CHENEY,
12    BRANDAN CHRISTNER, PETER CILA,
      ROCCO CIPOLLA, JASON CLARK, KATIE
13    CLARK, JAMES CLARKE, JACK CLEARY,
      CORY CLERI, MITCHELL COBURN,
14    MYLES COFFMAN, BRENNAN
      COLEMAN, BENJAMIN CONRAD,
15    CHRISTOPHER CONRAD, MASON COON,
      ALEXANDER COREN, DUWAYNE
16    COUNTS, JASON COURTER, CHASE
      COUZENS, ETHAN COWAN-WRIGHT,
17    MARCUS CROWLEY, JULIO CRUZ,
      MATEUS CUNHA, SYDNEY CUTLER-
18    GILBERT, KEVIN DAHLKE, AJAY
      DALAL, MICHAEL DAUGHERTY,
19    ANDREW DAVIDSON, JORDAN DAVIS,
      JOHN DAVIS, JAMES DAVIS, DREVAYNE
20    DAWKINS, JACOB DEEGAN, MANFRED
      DENTICE, JOSHUA DEPALMA, RACIEL
21    DIAZ, JEREMIAH DIEUJUSTE,
      ELIZABETH DINGMAN, SEAN DOLLE,
22    LOGAN DOOSE, CURTIS
      DROMMERHAUSEN, SEAN DUAN,
23    DENVER DUBHORN, DANIEL DUCOS,
      WILLIAM DUDLEY, MICHAEL DUFOUR,
24    ABRAHAM DUMAN, DANIEL DUNCAN,
      GABRIEL DURBIN, SPENCER DUZANT,
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      ECHEVARRIA, TAYLOR EDWARDS,
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 1    EREDIA, HALEY ESKRIDGE, SCOTT
      ESKRIDGE, KEELAN ESQUIVEL, NICO
 2    ESTEBANEZ, COLLIN EVANS, MICHAEL
      EWING, RANDALL FARLEY, MASON
 3    FIELD, NATALIE FIELDS, ZACK
      FINFROCK, ROBERT FISCHER, TRABER
 4    FISCHER, GREG FISH, JAKE FLAHERTY,
      DYLAN FLECKENSTEIN, BRETT FLINN,
 5    JEREMY FLIPPO, JACOB FORD, JOHN
      FORREST, MATTHEW FOSSETT,
 6    NICHOLAS FOSTER, ALEXANDER
      FOWLER, MATTHEW FOWLER, TYLER
 7    FRANCESCONI, JON FRANCISCO, NEIL
      ANDREW FRANCISCO, TYLER
 8    FREEHILL, ADRIAN FRITZLEY, CHASE
      FROELICH, ANTHONY GALATOLO,
 9    JAMES GALLANT, PAOLO GALUPO,
      RAYMOND GARAY, JULIAN GARIBA,
10    THOMAS GARRETT, ALEJANDRO
      GARRIDO, BRANDON GARWELL, LIAM
11    GAUME-WAKEFIELD, ANTHONY
      GAZZO, NELS GEARY, JOSEPH GENTRY,
12    AUGUSTUS GERBO, JASON GIBBS,
      ROBERT GIBSON, TYLER GILBERT,
13    CHARLES GILL, VIRGIL GLISSON,
      BRYCE GOENS, DONALD GOLDSMITH,
14    TASHA GOLDSMITH, RALPH
      GONZALES, GUIDO GONZALEZ,
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      GRESCOWLE, WILLIAM GRIFFIN, RILEY
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22    HEFNER, ADAM HENCHEN, MARK
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23    HERALD, RENNY HERBERT, MARTIN
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 1    HORAZECK, RICKY HORNE, SHAUN
      HOWE, NICHOLAS HOWELL, JAYSON
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 4    JACKS, KYLE JACKSON, WILLIAM
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 6    JARED JOHNSON, TIMOTHY JOHNSON,
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 8    KACHMAN, GREGORY KAIN, TIMOTHY
      KAISERLIK, ALISA KALEGINA,
 9    VINCENT KEEGAN, GRANT KEGLEY,
      NICHOLAS KEITH, TYLER KEMP, ODIS
10    KENDRICK, PAUL KIERNAN, BRANDON
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11    NICHOLAS KIRSE, JOHN KNIRR, ERIK
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12    JOSHUA KRANZ, DEREK KRAUSE,
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16    LEUCHT, JOSHUA LEWIS, TALON
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17    SCOTT LEWIS, ROBERT LEWIS,
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22    PANAYIOTIS MANISCALCO, WILLIAM
      MARCELLUS, JOHN MARCOTTE, ROGER
23    MARICLE, ALICIA MARSHALL, ROSS
      MARTIKKE, ARMANDO MARTINEZ,
24    JOSEPH MARTINOLICH, NICHOLAS
      MASTRIACO, PAUL MAYER, KYLE
25    MAYFIELD, TRAVIS MAYNARD,
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 1    JAMES MCDONALD, BRODEN
      MCDUFFEE, GRAYSEN MCGILLIGAN,
 2    JAMES MCINERNY, AUSTIN MCMILLAN,
      THOMAS MCSWEENEY, MARK
 3    MENDEL, MARTIN MENDEZ, DREW
      MERRIMAN, TRAVIS MICHELETTI,
 4    ALICE MILLAGE, RAY MILLER, CARY
      MILLER, ALEXANDER MISHKEVICH,
 5    ANDREW MITCHELL, SEAN MITCHELL,
      ANTHONY MITTASCH, MAX MOAKLEY,
 6    JODEE LYNN MOLINA, ELIJAH
      MONROE, ADRIAN MONTER, KEVIN
 7    MONTES, MALAKYE MOODY, RYAN
      MOORE, NATHANIEL MOORE, JARED
 8    MORENO, BARRY MORGANTI, DANIEL
      MORRIS, CONOR MOSCHELLA, YURI
 9    MOTRUK, GAVIN MOYE, MICHAEL
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      NINEMIRE, RICHARD NOBLE, GARLAND
13    NOEL, JOSHUA OBRIEN, CALEB
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14    ORTIZ, ANDREW OSBORNE, JOHN
      OTEY, MICHAEL OWENS, ALEXANDER
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      JOSHUA PAGE, MITCHELL PAKOSZ,
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      MITCHELL PAPENDORF, WESLEY
17    PARMER, ZACHARY PARSLEY, ERIC
      PARTLOW, HARSH PATEL, ALEX
18    PATRAO, MICHAEL PATTERSON, ERIC
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19    PEACOCK, AARON PEARSON, SHAWN
      PECK, JOSHUA PEDRICK, ELIEL PEDRO,
20    JEFF PELLEGRIN, MIKE PENA, TIMOTHY
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21    NOAH PERRY, JARED PERRY,
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22    AARON PETERSON, DEVEN PETERSON,
      MARCUS PETTWAY, DUSTIN PHELPS,
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      HUGH PHILLIPS, EVAN PIEPHO,
24    CORTLAND PINNICK, NATHAN PIPPIN,
      NIKO PITINII, CARSON PLAISANCE,
25    MATEO PLATERO, SKYLAR POND,
      PHARAUN POTTS, MATTHEW POWELL,
26    CHRISTOPHER PRATO-SHEIN, STEVEN
      PRESCOTT, JAMES PRUITT, JACOB
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 1    PULLEN, JOHN QUARNSTROM,
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      QUINN RASMUSSEN, BRADLEY
 3    RATLIFF, JOSEPH RAY, CRISTIAN
      RAYNES, VINCENT REBOKUS, DAVID
 4    REED, JOHN REEVES, JAMES
      REYNOLDS, ROBERT RICHARDS,
 5    TRACY RICHARDSON, ROBERT
      RICHELSON, DAVID RICHEY, JOE RIOS,
 6    JOSEPH RISI, JULIUS ROBERTS, SAMUEL
      ROBERTS, JOSHUA ROBERTS, STEPHEN
 7    ROBERTSON, CHRIS ROBINSON, ETHAN
      RODABAUGH, GABRIEL RODRIGUES,
 8    ALEXANDER RODRIGUEZ, JOSHUA
      RODRIGUEZ, THOMAS ROLANDO,
 9    ALLEN ROMAN, RUDOLPH ROMANO,
      VICTOR ROMO, NOE ROSALES,
10    ANDREW ROSSON, ANTHONY RUBINO,
      NICHOLAS RUGAMA, ROBERT RULE,
11    TREVOR RUPEL, MORGAN RUSHING,
      TYLER SALYER, JOSHUA SAMMONS,
12    ETHAN SAMS, LEONARD SANDERS,
      JOEL SANDKAMP, ANDRE SANTANA,
13    GABRIEL SANTANA, JEMELLEE
      SANTOS, SALVATORE SARDISCO,
14    SIMON SAVLAS, JOSHUA SAYLES,
      MARK SCHAEFER, AUSTIN SCHAU,
15    ROBERT SCHINDLER, ALEXANDER
      SCHLOSSER, RYAN SCHULTZ, JOHN
16    SCHWEIZER II, ETHAN SCIFERS, ISAAC
      SELLERS, RAMON SERRANO, ZACKERY
17    SESSIONS, RYAN SHELINE, JOSEPH
      SHELLEY, BENJAMIN SHEMENSKI,
18    BRIAN SHERWOOD, MICHAEL
      SHINGLETON, JAKE SIGAL, ANTHONY
19    SIMONI, ZACHARY SMITH, DANIEL
      SMITH, GREG SMITH, JASON SMITH,
20    RYAN SMITH, IAN SMITH, DYLAN
      SMYERS, AARON SOLOMON, NORM
21    SOMERS, LUIS SOTILLET ROJAS,
      DECKER SPENCER, DONALD SPINELLI,
22    PATRICK SQUIRE, DARIAN STARK,
      HOLDEN STENDER, MATTHEW
23    STENGEL, CHRISTOPHER STEPHAN,
      DILLON STETTLER, SAMUEL STEVENS,
24    CODY STEWART, ROBERT STILLMAN,
      NICHOLAS STONE, MITCHELL STRANG,
25    TYLER STRENGE, IAN STUBBS, STEVEN
      STUCKER, TYLER STULZ, NICKY SUN,
26    KALEB SWAIM, MATTHEW SWEENEY,
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 2    THOMAS, LUCIAN THOMPSON,
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      TOFT, LEIF TOLLEFSON, AMBER
 4    TONEY, IAN TREFREN, KAI TROBAUGH,
      JEFFREY TRODDEN, DEVON TRUJILLO,
 5    MAISIE TURNER, RYAN TUTOR,
      LAUREN TYNER, NICHOLAS TYNES,
 6    KATIE UCCELLO, MARC URA, JACK
      UTEG, VEDA VALLES, AARON VAUGHN,
 7    CHRISTOPHER VEIGA, MATTHEW
      VENTURES, LANCE VICENTE, BERNARD
 8    VIGNALI, KEVIN VILORIA, KENNETH
      WALKER, JACOB WALKER, LLOYD
 9    WALKER, JAMES WALTERS,
      DOMINIQUE WARD, JONAH WARNER,
10    CODY WARREN, JOSEPH
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      MARK WENDT, DANIEL WEST, JAMES
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      WRIGHT, J DEREK WRIGHT, TYLER
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18    JACOB ZIDE, ADAM ZUNIGA and JOHN
      ZWICK,
19
                        Respondents.
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 1                                              INTRODUCTION
 2          1.     Valve brings this petition to enjoin Respondents from continuing to pursue arbitrations
 3 before the American Arbitration Association (“AAA”) because there is no agreement to arbitrate between

 4 the parties. Valve’s request for relief does not leave Respondents without a way to pursue their claims. It

 5 merely asks the Court to answer a simple legal question: Whether Respondents may arbitrate their

 6 claims—even though there is no arbitration agreement between the parties—or must resolve their claims

 7 in court.

 8          2.     Valve is forced to bring this petition by the actions of Bucher Law PLLC (“Bucher Law”).
 9 Bucher Law is a small law firm founded by William Ward Bucher IV after he was fired by another law

10 firm, which is now suing him for (among other things) alleged misappropriation, aiding and abetting fraud,

11 and interference with client relationships. Looking to build its business—and generate substantial attorney

12 fees—Bucher Law engaged in a widespread marketing campaign to convince Steam users to bring

13 antitrust claims against Valve related to its Steam gaming platform. The strategy was to “weaponize[]” an

14 arbitration provision in the user agreement between Valve and Steam users to leverage a settlement from

15 Valve so it could avoid the enormous costs it would face in arbitrating thousands of user claims.

16 Mr. Bucher believed that “[a]ggregating claims makes [Valve’s] entrance fee to just defend [arbitrations]

17 prohibitively expensive.”

18          3.     Steam users were merely pawns in this scheme; Mr. Bucher’s presentation to a prospective
19 investor promised huge returns for a litigation funder willing to front the costs of convincing users to bring

20 claims against Valve, reducing each Steam user to an “acquisition” cost. 1 The presentation estimated

21 “spend of $3.75 million to recruit 75,000 clients at $50 an acquisition” and enticed a potential funder with

22 an estimated “1874% ROI on $6.5 million investment.” The plan was simple: Convince tens of thousands

23 of Steam users they needed to bring claims against Valve, then use their numbers to extort a windfall

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            1
            Mr. Bucher’s complete presentation is publicly available as an exhibit in a lawsuit Mr. Bucher’s
26 former law firm brought against him. See https://fingfx.thomsonreuters.com/gfx/legaldocs/xmvjlawjrvr/
   frankel-valvevzaiger--massarbpowerpoint.pdf.
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28   PETITION - 8                                                                  CORR CRONIN LLP
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 1 settlement by threatening Valve with thousands of arbitrations that would cause Valve to incur substantial

 2 arbitration fees.

 3          4.      Some Steam users noted on public posts that Mr. Bucher was engaged in a “scam.” Others
 4 appear to have been misled about what they had signed up for, believing it was a class action or class

 5 action settlement that didn’t exist. And some Steam users who were induced to sign up after being

 6 bombarded with harassing video ads later tried to rescind their participation.

 7          5.      Because of Mr. Bucher’s tactics, Valve brought suit against Bucher Law in Washington
 8 state court asserting claims for tortious interference and abuse of process. Complaint, Valve Corp. v.

 9 Bucher Law PLLC, No. 23-2-20447-6 (Wash. Super. Ct. Oct. 2, 2023) (explaining Bucher Law’s abusive

10 conduct in detail) (Ex. 2). 2 Bucher Law claimed that his actions were “absolutely immunize[d]” by “the

11 litigation privilege” and asked the court to dismiss Valve’s case. The court denied Bucher Law’s request,

12 finding that (i) “Valve has alleged sufficient facts to establish a plausible claim of tortious interference”

13 and (ii) “Valve has also alleged sufficient facts to plausibly allege a claim of abuse of process, particularly

14 given the unique circumstances of the case.” (Ex. 3 at 2.)

15          6.      Meanwhile, after tens of thousands of Steam users apparently (and perhaps unwittingly)
16 retained Bucher Law to bring claims against Valve, Bucher Law launched several thousand arbitrations

17 against Valve, invoking the arbitration agreement in the Steam Subscriber Agreement (“SSA”) between

18 Valve and Steam users that was in effect at the time. An arbitrator in four of those arbitrations ruled that

19 the SSA’s arbitration agreement was not enforceable. Based on those rulings, Bucher Law filed a putative

20 nationwide class action against Valve in this Court based on the premise that Valve’s arbitration agreement

21 was unenforceable as to the entire class of all Steam users in the United States, including Respondents

22 here. See Complaint, Elliott v. Valve Corporation, No. 2:24-cv-01218 (W.D. Wash. filed Aug. 9, 2024).

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25           All references to “Ex.” followed by a numbered exhibit refer to exhibits filed in connection with
   the Declaration of Andrew J. Fuchs submitted herewith (“Fuchs Decl.”). All references to “Ex.” followed
26 by a lettered exhibit refer to exhibits filed in connection with the Declaration of Scott Lynch submitted
   herewith (“Lynch Decl.”).
27

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 1          7.      In light of all of the circumstances, Valve removed the arbitration agreement and class
 2 action waiver from the SSA. 3 Now, the current SSA (the “Current SSA”) provides that all claims and

 3 disputes between Valve and Steam users must proceed in court, including claims and disputes that arose

 4 before Valve implemented the Current SSA.

 5          8.      Numerous Steam users quickly accepted the Current SSA—including the large majority of
 6 Respondents—and those that have not yet accepted will do so by November 1, 2024, through their

 7 continued use of Steam.

 8          9.      Despite basing a nationwide class action on the argument that the arbitration agreement in
 9 Valve’s prior SSA was not enforceable, Bucher Law continued to push forward with Respondents’

10 previously-filed arbitrations, including for those Respondents who agreed with Valve in the Current

11 SSA that their claims would be pursued only in court. Bucher Law argued in those arbitrations that the

12 old arbitration agreement from the Superseded SSA remains enforceable for the claimants in those

13 arbitrations and asked arbitrators to rule those claimants may proceed in arbitration on that basis.

14          10.     As the Supreme Court held in a unanimous decision earlier this year, the question of which
15 of two agreements governing dispute resolution applies is a question that only a court may decide. See

16 Coinbase, Inc. v. Suski, 609 U.S. 143, 152 (2024). As the Court observed, “[a]rbitration is a matter of

17 contract and consent, and we have long held that disputes are subject to arbitration if, and only if, the

18 parties actually agreed to arbitrate those disputes.” Id. at 145.

19          11.     Respondents’ same claims are being litigated by Bucher Law in two different forums: (i) in
20 arbitrations, despite the absence of an arbitration agreement, and (ii) in a class action pending before this

21 Court that includes Respondents as putative class members. As there is no longer an arbitration agreement,

22 Respondents should be enjoined from pursuing their arbitrations. Respondents will remain free to

23 prosecute their claims in court, in Bucher Law’s new Elliott class action, in another parallel and virtually

24

25

26          3
               The prior version of the SSA that included an arbitration agreement and class action waiver is
     referred to herein as the “Superseded SSA.”
27

28    PETITION - 10                                                               CORR CRONIN LLP
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 1 identical class action pending in this Court, In re Valve Antitrust Litigation, No. 2:21-cv-00563- JNW

 2 (“Wolfire”), or otherwise.

 3                                       NATURE OF THE ACTION
 4          12.     William Ward Bucher IV is the founder and sole partner of Bucher Law. In July 2022,
 5 before Mr. Bucher founded Bucher Law, the law firm Zaiger LLC (“Zaiger”) hired Mr. Bucher to “to lead

 6 [the] development and pursuit of mass arbitration strategies” at Zaiger. While at Zaiger, Mr. Bucher made

 7 a presentation to a litigation funder setting out his plan to exploit the arbitration agreement in the

 8 Superseded SSA to bring mass arbitrations against Valve. (Ex. 1.) This was purely a business proposition

 9 with no discussion of the merits of any claims against Valve. Instead, the presentation promised huge

10 returns for a litigation funder willing to front the costs of convincing users to sue Valve, reducing each

11 Steam user to a mere “acquisition” cost. (Id. at 5.) The presentation estimated “spend of $3.75 million to

12 recruit 75,000 clients at $50 an acquisition” and enticed a potential funder with an estimated “1874% ROI

13 on $6.5 million investment” in funding the proposed mass arbitrations. (Id. at 5, 9.) The plan was simple:

14 Convince tens of thousands of Steam users they needed to sue Valve, then use their numbers to extort a

15 windfall settlement by threatening Valve with thousands of arbitrations that would cause Valve to incur

16 substantial arbitration fees.

17          13.     Zaiger subsequently terminated Mr. Bucher, allegedly on account of a disagreement over
18 arbitration strategy. Zaiger then sued Mr. Bucher alleging, among other things, that Mr. Bucher stole client

19 files in connection with threatened arbitrations against Valve. See Complaint, Zaiger LLC v. Bucher Law

20 PLLC, No. 154124-2023 (Sup. Ct. N.Y. Cnty. May 9, 2023) (Ex. 7).4 The lawsuit alleges that Mr. Bucher

21 “snuck into [Zaiger’s] client database,” and “tried to access and download names, addresses, email

22 addresses, and mobile phone numbers of about 48,000 Firm clients whose information was stored on the

23 Firm Database.” Id. ¶ 3. Mr. Bucher allegedly used the information he stole to “barrage those [Zaiger

24

25

26          4
               The complaint is available at: https://fingfx.thomsonreuters.com/gfx/legaldocs/
     znvnzwglqvl/frankel-valvevzaiger--zaigercomplaintvbucher.pdf.
27

28    PETITION - 11                                                              CORR CRONIN LLP
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 1 clients] with false and deceptive emails and text messages,” falsely implying that the clients must sign up

 2 with Mr. Bucher’s firm to continue pursuing their mass arbitration claims against Valve. Id. ¶ 5.

 3          14.     After his termination from Zaiger, Mr. Bucher formed Bucher Law.
 4          15.     In 2023, Bucher Law commenced its mass arbitration strategy against Valve, which was
 5 designed—in Mr. Bucher’s own words—to “weaponize[]” an arbitration agreement between Valve and

 6 Respondents. (Ex. 1 at 3.) At that time, Valve’s SSA included an arbitration agreement that required

 7 claims and disputes to be brought in arbitration before the AAA.

 8          16.     In a marketing video used as part of his online marketing blitz to recruit claimants,
 9 Mr. Bucher stated that arbitration was preferable to a class action. Mr. Bucher tried to convince Steam

10 users to join his arbitration plan by stating that it was “good news” that Valve had an arbitration agreement

11 because “on average consumers in arbitration recover hundreds of times more than in a class action.” After

12 threatening arbitrations asserting antitrust claims on behalf of thousands of claimants, Bucher Law made

13 an outrageous settlement demand to Valve that far exceeded any conceivable recovery; indeed, the

14 threatened claims are meritless. 5

15          17.     Valve did not acquiesce to Bucher Law’s demand. Bucher Law then filed thousands of
16 arbitrations with the AAA. At present, there are 601 arbitrations proceeding before the AAA that are

17 assigned to merits arbitrators (including two claimants who are deceased) and 25 claimants who were

18 assigned to a merits arbitrator who was disqualified. All of the claimants in those actions (with the

19 exception of two claimants who are deceased) are Respondents here. Bucher Law also filed thousands of

20 other arbitrations with the AAA that have not been assigned to merits arbitrators. The claimants in these

21 arbitrations include at least seven individuals who are deceased; at least 96 individuals who are represented

22 by other law firms pursuing the same claims; and at least 19 individuals who are in active bankruptcy

23 proceedings. (And, of course, all of the claimants are putative class members in Elliott.)

24
            5
            Bucher Law asserts claims under Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2.
25 Bucher Law alleges that Valve has monopolized the so-called “PC Game Transaction Platforms Market”
   by imposing a “Platform Most-Favored Nations” policy (“PMFN”) in which Valve has allegedly
26 prohibited game developers from selling games on rival storefronts at lower prices than on Steam. These
   claims are false, as Valve is demonstrating in related litigation in this Court in Wolfire and Elliott.
27

28   PETITION - 12                                                                CORR CRONIN LLP
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 1         18.      Most of the arbitrations pending before arbitrators are at preliminary stages. The parties
 2 have not completed their information exchange in any arbitration. No evidentiary hearings or any final

 3 merits hearings have been held in any arbitration.

 4         19.      In May 2024, Bucher Law filed motions in four arbitrations pending before the same
 5 arbitrator seeking a ruling that the arbitration agreement in Valve’s now superseded SSA was

 6 unenforceable. Bucher Law did not file this motion in the 21 other arbitrations against Valve pending

 7 before that same arbitrator. Nor did Bucher Law file this motion before any of the other 34 arbitrators

 8 presiding over Bucher Law’s arbitrations.

 9         20.      On July 8, 2024, the arbitrator in those four proceedings granted Bucher Law’s motions,
10 holding that the arbitration agreement in the Superseded SSA was unenforceable and dismissing those

11 arbitrations.

12         21.      On August 9, 2024, Bucher Law and its co-counsel Hagens Berman Sobol Shapiro LLP
13 (“Hagens”) filed a putative class action against Valve in this Court captioned Elliott v. Valve Corporation,

14 No. 2:24-cv-01218 (W.D. Wash.). The plaintiffs in that action are the four individuals on whose behalf

15 Bucher Law obtained arbitral rulings that the arbitration agreement in the Superseded SSA was

16 unenforceable.

17         22.      Bucher Law’s and Hagens’s complaint in Elliott asserts all of the claims and seeks all of
18 the relief Bucher Law seeks on behalf of Respondents and other claimants in arbitrations pending before

19 the AAA. Bucher Law and Hagens seek to represent a putative nationwide class that includes Respondents

20 and all other claimants on whose behalf Bucher Law is prosecuting arbitrations before the AAA.

21         23.      The arbitration agreement in the SSA at the time Bucher and Hagens filed Elliott provided
22 that the claims be arbitrated before the AAA. But Bucher Law and Hagens asserted that their claims

23 belonged in court because Bucher Law had “won binding decisions from arbitrators rendering Valve’s

24 arbitration provision unenforceable.” Complaint ¶ 13, Elliott (Dkt. 1).

25         24.      Although Mr. Bucher told potential claimants in his marketing video that arbitration was
26 superior to a class action, Bucher Law and Hagens represent in Elliott that the opposite is true. The

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28   PETITION - 13                                                               CORR CRONIN LLP
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 1 complaint alleges that the putative class action is “superior to any other method for the fair and efficient

 2 adjudication of this legal dispute.” Complaint ¶ 177, Elliott (Dkt. 1).

 3         25.     Valve did not challenge the rulings of the arbitrator that the arbitration agreement in its
 4 Superseded SSA is unenforceable, nor will it do so. Instead, on September 26, 2024, Valve implemented

 5 the Current SSA to remove the arbitration agreement and class action waiver.

 6         26.     The Current SSA requires that all claims, including claims that arose before the new
 7 agreement, must proceed in court:

 8                 You and Valve agree that disputes and claims between you and Valve
                   (including any dispute or claim that arose before the existence of this or any
 9                 prior agreement) shall be commenced and maintained exclusively in any
                   state or federal court located in King County, Washington, having subject
10                 matter jurisdiction.
11         27.     The Current SSA also provides that it “constitutes and contains the entire agreement
12 between the parties with respect to the subject matter hereof and supersedes any prior oral or written

13 agreements.”

14         28.     Under well-settled law, these provisions in the Current SSA cover all of the arbitrations
15 Bucher Law is prosecuting on behalf of Respondents and other claimants in arbitration and requires their

16 claims to proceed in court.

17         29.     All Respondents were sent notice of the Current SSA by email, and, if they opened the
18 Steam client, a pop-up notification. The Current SSA has also been continuously posted online in a public

19 website since September 26, 2024, in numerous languages, with a prominent header calling out the new

20 agreement and advising users that “the new dispute resolution provisions in Section 10 require that all

21 disputes and claims proceed in court and not in arbitration.” (See https://store.steampowered.com/

22 subscriber_agreement/).) Users have also been asked to accept the new SSA every time they buy a game

23 on Steam or fund their Steam Wallet since September 26, 2024.

24         30.     At least 461 of the 624 Respondents have already affirmatively accepted the Current SSA
25 by (i) checking a box next to the text “I agree to the Updated Steam Subscriber Agreement” then clicking a

26 button labeled “Accept Updated SSA” under a notification regarding the updates, (ii) checking a box stating

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28   PETITION - 14                                                                 CORR CRONIN LLP
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 1 their agreement to the new SSA when making a purchase on Steam or funding their Steam Wallets, or (iii) in

 2 both of those ways. The remaining Respondents will accept the Current SSA by November 1, 2024, if they

 3 do not delete or discontinue use of their account before then. 6

 4         31.       Bucher Law and Hagens asserted in Elliott that the Current SSA and its forum selection
 5 provision applies to all Steam users, including these Respondents. On October 2, 2024, Bucher Law and

 6 Hagens moved to be appointed interim co-lead class counsel in Elliott. In that motion, Bucher Law and

 7 Hagens (together, “Proposed Class Counsel”) represented that they had “prompted Valve to remove the

 8 arbitration provision from its terms of use, along with the associated class action wavier. As a result,

 9 Valve consumers are authorized to proceed in federal court and seek collective relief through the

10 class action vehicle.” Plaintiffs’ Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher Law

11 PLLC as Interim Co-Lead Class Counsel, Elliott (Dkt. 25). “Valve consumers” include Respondents and

12 the thousands of other claimants in the arbitrations that Bucher Law is prosecuting before the AAA.

13         32.       Notwithstanding Proposed Class Counsel’s statement to this Court that the Current SSA
14 applies to all Respondents, Bucher Law is taking the opposite position in Respondents’ arbitrations before

15 the AAA and in an action filed in California state court.

16         33.       First, Bucher Law continues to prosecute hundreds of arbitrations before the AAA on
17 behalf of Respondents. Valve asked the AAA to administratively close the arbitrations for lack of

18 jurisdiction. Bucher Law opposed Valve’s request, arguing that Valve’s implementation of the Current

19 SSA was a “unilateral and legally infirm terms of use modification.” The AAA declined to close the

20 arbitrations, leaving to a court or 34 merits arbitrators the question whether the arbitrations may proceed.

21 But which agreement applies to Respondents’ claims—the Superseded SSA with an arbitration agreement

22 or the Current SSA that provides for resolution of disputes in court (and to which most Respondents have

23 affirmatively agreed)—is a question that, under Coinbase, only a court may resolve.

24         34.       Second, Bucher Law filed a petition in California state court seeking to reinstate a
25 disqualified arbitrator who was previously assigned to 25 of the Respondents’ arbitrations, so that Bucher

26
           6
               Valve will only delete a user’s account if and when that user requests deletion.
27

28   PETITION - 15                                                                 CORR CRONIN LLP
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 1 Law can go forward in those arbitrations with its preferred arbitrator. See Beer v. Valve Corporation,

 2 No. 24STCP03209 (Cal. Sup. Ct., L.A. Cnty. filed Oct. 4, 2024). Bucher Law’s petition is based on the

 3 premise that the arbitration agreement in Valve’s Superseded SSA is enforceable and applies to those

 4 Respondents’ claims—exactly opposite Bucher Law’s position in the Elliott class action, which is based

 5 on the premise the arbitration agreement in Valve’s Superseded SSA is not enforceable.

 6         35.      Bucher Law has conceded to arbitrators that the firm is forum shopping by prosecuting
 7 separate actions—the arbitrations and the putative class action—on behalf of the same Respondents in

 8 two different forums (AAA, federal court). 7 Bucher Law also stated to arbitrators that Respondents may

 9 withdraw their arbitrations and proceed in court if Bucher Law is dissatisfied with any arbitral ruling at

10 any point up until a final award. Bucher Law represented that some Respondents already indicated their

11 intention to do so. And Bucher Law represented to arbitrators that Bucher Law intends to use information

12 obtained in the arbitrations in furtherance of Proposed Class Counsel’s putative class action.

13          36.     The arbitrations Bucher Law is prosecuting on behalf of Respondents impose enormous
14 burdens on the parties. This time and expense incurred is entirely wasted: any final arbitral award issued

15 in any of those arbitrations would inevitably be vacated because there is no arbitration agreement between

16 the parties.

17          37.     These inefficient, duplicative, and wasteful arbitral proceedings flow from Bucher Law’s
18 inherent conflicts of interest from representing a putative class in one forum while at the same time

19 representing a smaller group of putative class members in another. Bucher Law represents (i) the putative

20 class in Elliott, which includes all Respondents and other claimants and (ii) Respondents and other

21 claimants in arbitrations. Courts have consistently held that such split loyalties create an inherent and

22 disabling conflict of interest because the interests of a putative class may diverge from the interests of

23 individual claimants.

24

25

26         7
              Bucher Law has also forum shopped in arbitrations. Bucher Law submitted no fewer than 315
     challenges seeking to disqualify a total of 22 arbitrators.
27

28    PETITION - 16                                                             CORR CRONIN LLP
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 1          38.     This conflict already materialized through Bucher Law’s actions: Bucher Law is taking
 2 contrary positions (i) in Elliott, where Bucher Law argues that the Superseded SSA’s arbitration

 3 agreement was unenforceable and the Current SSA governs all Respondents’ claims, and (ii) in

 4 Respondents’ and other claimants’ arbitrations and in a California state court proceeding, where Bucher

 5 Law takes the position that the Current SSA is invalid and the Superseded SSA is enforceable and governs.

 6          39.     It is not apparent that Respondents are aware that (i) Bucher Law sought and obtained
 7 orders ruling that the arbitration agreement in the SSA was unenforceable; (ii) Bucher Law and Hagens

 8 filed a putative class action on behalf of Respondents as putative class members; (iii) Bucher Law is forum

 9 shopping or using Respondents’ arbitrations as leverage in furtherance of Proposed Class Counsel’s

10 putative class action; or (iv) this dispute has arisen as to which agreement applies to their claims as

11 between the Superseded SSA and the Current SSA. The circumstances suggest that many Respondents

12 are not aware of any of these facts.

13          40.     In addition, Bucher Law appears to be disregarding its own clients’ wishes: Even though
14 the majority of Respondents already affirmatively agreed to the Current SSA and its requirement that all

15 claims be litigated in court, Bucher Law continues to press their claims in arbitration despite the existence

16 of the Elliott and Wolfire class actions in which his clients can pursue their claims.

17          41.     In short, Respondents (or their counsel) are attempting to proceed with arbitrations under
18 an old arbitration agreement that was found unenforceable and that has since been removed from the

19 Current SSA. Most Respondents already affirmatively agreed to the Current SSA and any remaining

20 Respondents will shortly agree to that new agreement unless they delete or discontinue use of their

21 accounts. The AAA therefore lacks jurisdiction to adjudicate Respondents’ disputes. Accordingly, Valve

22 respectfully requests an order enjoining the arbitrations Respondents are prosecuting before the AAA.

23                                               THE PARTIES
24          42.     Plaintiff Valve is a corporation organized under the laws of Washington state with its
25 principal place of business in King County, Washington.

26

27

28   PETITION - 17                                                                CORR CRONIN LLP
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 1          43.     Respondents are 624 individuals represented by Bucher Law in arbitrations pending before
 2 arbitrators with the AAA (or that were assigned to an arbitrator who has since been disqualified). 8

 3                                       JURISDICTION AND VENUE
 4          44.     This Court has jurisdiction over this petition under 9 U.S.C. § 4 and 28 U.S.C. §§ 1331 and
 5 1367 because the underlying controversy involves claims arising under the laws of the United States—the

 6 Sherman Act, 15 U.S.C. §§ 1 and 2.

 7          45.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2) because at least six
 8 Respondents presently reside in King County, 9 and because Section 10 of the agreement between the

 9 parties, the Current SSA, provides:

10                  You and Valve agree that all disputes and claims between you and Valve
                    (including any dispute or claim that arose before the existence of this or any
11                  prior agreement) shall be commenced and maintained exclusively in any
                    state or federal court located in King County, Washington, having subject
12                  matter jurisdiction. You and Valve hereby consent to the exclusive
                    jurisdiction of such courts and waive any objections as to personal
13                  jurisdiction or venue in such courts. 10 (Ex. B §10.)
14          46.     This court has personal jurisdiction over all Respondents because Section 10 of the
15 agreement between the parties, the Current SSA, provides:

16                  You and Valve agree that all disputes and claims between you and Valve
                    (including any dispute or claim that arose before the existence of this or any
17                  prior agreement) shall be commenced and maintained exclusively in any
                    state or federal court located in King County, Washington, having subject
18                  matter jurisdiction. You and Valve hereby consent to the exclusive
                    jurisdiction of such courts and waive any objections as to personal
19                  jurisdiction or venue in such courts. Id.
20

21

22

23          8
             The claims of 25 Respondents were assigned to Arbitrator Martin D. Katz, who was disqualified
     by the AAA.
24
        9
          These Respondents include Christien Ayson, Scott Eskridge, Renny Herbert, John Otey, James
25 McDonald, and Nicholas Stone.

26          10
               The Superseded SSA likewise required that disputes brought in court must proceed in any state
     or federal court located in King County, Washington, having subject matter jurisdiction.
27

28    PETITION - 18                                                                CORR CRONIN LLP
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 1                                          SUMMARY OF FACTS
 2 A.      Valve, Steam, and the SSA
 3         47.     Valve is a video game developer, publisher, and digital distribution company. Valve offers
 4 an online platform called Steam, where consumers can purchase, play, discuss, and interact with their

 5 friends about video games. (Lynch Decl. ¶ 2.)

 6         48.     For an individual to create a Steam account and become a Steam user, they must first agree
 7 to the SSA. (Id. ¶ 3.)

 8         49.     Valve has periodically modified the SSA since it was first implemented in 2003.
 9         50.     In 2012, Valve added to the SSA an arbitration agreement providing that, with limited
10 exceptions, users and Valve “agree to resolve all disputes and claims between us in individual binding

11 arbitration” with the AAA. 11 (Lynch Decl. ¶ 4.)

12         51.     On September 26, 2024, Valve launched the Current SSA removing the arbitration
13 agreement and class action waiver. (Lynch Decl. ¶ 5.)

14 B.      The Wolfire Class Action
15         52.     On April 27, 2021, a video game developer named Wolfire Games LLC (“Wolfire”) and
16 two individual consumer plaintiffs filed a putative antitrust class action in this Court against Valve on

17 behalf of a putative class of “[a]ll persons and entities who . . . purchased or sold a PC game on the Steam

18 Store in the United States from January 28, 2017.” Complaint ¶ 231, Wolfire Games LLC v. Valve Corp.,

19 No 2:21-cv-00563-JCC (W.D. Wash. filed Apr. 27, 2021) (Dkt. 1).

20         53.     There were seven individual consumer plaintiffs in the consolidated Wolfire action (the
21 “Wolfire Consumer Plaintiffs”).

22         54.     None of the Wolfire Consumer Plaintiffs are Respondents in this petition.
23

24

25
           11
             In the five years between 2017 and 2022, there were only two instances where Valve and a
26 Steam user could not resolve that user’s issue and proceeded to arbitration. Both of those arbitrations were
   resolved on the merits in Valve’s favor.
27

28   PETITION - 19                                                               CORR CRONIN LLP
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 1 C.        This Court in Wolfire Compels Arbitration as to
             Seven Individual Plaintiffs and Does Not Address Enforceability
 2
             55.     On June 23, 2021, Valve moved to compel the Wolfire Consumer Plaintiffs to arbitrate in
 3
     accordance with the provisions of the Superseded SSA, which was then in effect.
 4
             56.     At that time, the SSA to which the Consumer Plaintiffs had agreed—the Superseded
 5
     SSA—contained a class action waiver and a clause requiring arbitration of all disputes and claims, with
 6
     limited exceptions not applicable to the Wolfire Consumer Plaintiffs’ claims.
 7
             57.     This Court granted Valve’s motion to compel and compelled arbitration only as to the
 8
     Wolfire Consumer Plaintiffs. See Wolfire Games, LLC v. Valve Corp., No. C21-0563, 2021 WL 4952220,
 9
     at *1 (W.D. Wash. Oct. 25, 2021).
10
             58.     This Court declined to rule on the enforceability of the arbitration agreement in the
11
     Superseded SSA. As this Court explained, “the Court must enforce the parties’ agreement to have an
12
     arbitrator decide the broader question of whether the arbitration clause itself is unconscionable.” See
13
     Wolfire, 2021 WL 4952220, at *2. “Accordingly, the question of unconscionability should be determined
14
     in arbitration.” Id.
15
             59.     This Court stayed the seven Wolfire Consumer Plaintiffs’ claims pending arbitration.
16
     Wolfire, 2021 WL 4952220, at *3. 12 However, in light of the removal of the arbitration agreement from
17
     the Current SSA, the Wolfire Consumer Plaintiffs have now moved to lift the stay and proceed with Steam
18
     user claims in Wolfire.
19
             60.     The Wolfire action has since proceeded with respect to the putative video game developer
20
     class. The parties have fully briefed a motion for certification of that class.
21
     D.      Bucher Law and the Genesis of Its Mass Arbitration Against Valve
22
             61.     Bucher Law is a law firm founded by William Ward Bucher IV.
23

24

25
             12
             On July 22, 2022, this Court consolidated Wolfire with a related action, Dark Catt Studios et al.
26 v. Valve Corporation, No. 2:21-cv-00872-JCC (W.D. Wash.), and recaptioned the consolidated action “In
   re Valve Antitrust Litigation.” For simplicity, the consolidated action is referred to herein as “Wolfire.”
27

28    PETITION - 20                                                                  CORR CRONIN LLP
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 1          62.     Prior to founding Bucher Law, the law firm Zaiger hired Mr. Bucher “to lead [the]
 2 development and pursuit of mass arbitration strategies” at Zaiger. Complaint Ex. A (Offer of

 3 Employment), Zaiger LLC v. Bucher Law PLLC, No. 154124-2023 (Sup. Ct. N.Y. Cty. July 26, 2023).

 4          63.     While at Zaiger, Mr. Bucher authored a presentation made to a potential litigation funder
 5 seeking funding for Mr. Bucher’s mass arbitration plans.

 6          64.     The presentation explained that Mr. Bucher intended to “weaponize[]” the arbitration
 7 agreement between Valve and Steam users. (Ex. 1 at 3.) The presentation stated that “[a]ggregating claims

 8 makes [the] entrance fee to just defend prohibitively expensive” to the business. Id. The presentation

 9 expressly targeted Valve and Steam users, including Respondents (Id. at 7.) The presentation enticed the

10 litigation funder with extraordinary returns for financing Mr. Bucher’s mass arbitration plan. (Id. at 9.)

11 The presentation reduced each Steam user to a mere “acquisition” cost. The litigation funder would “spend

12 $3.75 million to recruit 75,000 clients at $50 an acquisition” (Id. at 5.) In exchange, the litigation funder

13 would receive an estimated “1874% ROI on $6.5 million investment” in funding the proposed mass

14 arbitration. (Id. at 9.) Mr. Bucher would persuade a large volume of Steam users to sue Valve, then extort

15 a windfall settlement by threatening Valve with millions of dollars in up front arbitration fees having

16 nothing to do with the merits of Steam users’ claims.

17          65.     On March 1, 2023, Zaiger terminated Mr. Bucher. Mr. Bucher thereafter formed his law
18 firm, Bucher Law.

19          66.     On May 9, 2023, Zaiger filed a lawsuit against Mr. Bucher in the Supreme Court for the
20 State of New York, New York County, alleging, among other things, that Mr. Bucher engaged in

21 misconduct in connection with threatened—and now pending—arbitrations against Valve.

22 Complaint ¶¶ 1-13, Zaiger LLC v. Bucher Law PLLC, No. 154124-2023 (Sup. Ct. N.Y. Cnty. May 9,

23 2023) (Ex. 7).

24          67.     Zaiger alleges that Mr. Bucher, while employed at Zaiger, “snuck into the Firm’s client
25 database,” and “tried to access and download names, addresses, email addresses, and mobile phone

26 numbers of about 48,000 Firm clients whose information was stored on the Firm Database.” Id. ¶ 3.

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28   PETITION - 21                                                                CORR CRONIN LLP
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 1          68.     Mr. Bucher allegedly used the information he stole to “barrage those Firm Clients with
 2 false and deceptive emails and text messages,” falsely implying that the clients must sign up with his firm

 3 to continue pursuing their mass arbitration claims against Valve. Id. ¶ 5.

 4          69.     Zaiger asserts claims for intentional interference with contractual relationships, unfair
 5 competition, misappropriation, and unjust enrichment against Mr. Bucher based on this alleged

 6 misconduct. Id. ¶¶ 87-122.

 7          70.     On July 2, 2024, the Supreme Court for the State of New York denied Mr. Bucher’s motion
 8 to dismiss Zaiger’s claims. Zaiger LLC v. Bucher Law PLLC, slip op. at 6-10 (Sup. Ct. N.Y. Cnty. Aug. 13,

 9 2024).

10 E.       More than Two Years after This Court in Wolfire Grants Valve’s
            Motion To Compel Arbitration, Bucher Law Commences Arbitrations
11
            71.     On July 12, 2023, Bucher Law sent Valve a letter threatening to bring purported antitrust
12
     claims on behalf of 44,903 individuals. (Fuchs Decl. ¶ 2.) The allegations contained in Bucher Law’s letter
13
     were apparently modeled on those made on behalf of the seven consumers in the Wolfire action.
14
            72.     On October 2, 2023, Bucher Law submitted 997 demands for arbitration against Valve to
15
     the AAA and threatened Valve with filing 18,204 more such demands. (Fuchs Decl. ¶ 3.)
16
            73.     In November and December of 2023, Bucher Law submitted thousands of additional
17
     demands for arbitration against Valve to the AAA. (Fuchs Decl. ¶ 4.)
18
            74.     Bucher Law is currently pursuing arbitrations against Valve before the AAA on behalf of
19
     5,028 claimants. (Fuchs Decl. ¶ 5.)
20
            75.     Among these claimants, the claims of (i) 599 claimants are assigned to merits arbitrators
21
     (not including two additional claimants who are deceased) and (ii) 25 claimants were assigned to
22
     Arbitrator Martin D. Katz before he was disqualified by the AAA. These 624 claimants, collectively,
23
     comprise the Respondents. (Fuchs Decl. ¶ 6; App’x A.)
24
            76.     On September 27, 2024, Bucher Law attempted to file an additional 42,000 arbitration
25
     claims with the AAA. (Fuchs Decl. ¶ 20.) The AAA refused to administer these arbitrations. The AAA
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28    PETITION - 22                                                               CORR CRONIN LLP
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 1 noted that the claimants could proceed with their claims in court. All of these claimants are members of

 2 the putative classes in Wolfire and Elliott.

 3 F.       Bucher Law Seeks and Obtains Rulings from an Arbitrator
            That the Superseded SSA’s Arbitration Clause Is Unenforceable
 4
            77.     The AAA assigned the claims of 25 claimants to Arbitrator Jeffrey H. Dasteel.
 5
            78.     On May 22, 2024, Bucher Law moved to dismiss arbitrations on behalf of four of the 25
 6
     claimants with arbitrations pending before Arbitrator Dasteel. (Fuchs Decl. ¶ 8.) Bucher Law moved to
 7
     dismiss on the ground that the arbitration agreement in the Superseded SSA (which was then current) was
 8
     unenforceable. (Id.)
 9
            79.     On July 8, 2024, Arbitrator Dasteel granted the four motions. The arbitrator held that the
10
     arbitration agreement in the Superseded SSA was unenforceable. (Fuchs Decl. ¶ 9.)
11
            80.     Arbitrator Dasteel dismissed all four arbitrations on this basis. (Fuchs Decl. ¶ 10.) The
12
     arbitrator held that the four claimants’ claims must be adjudicated in court. (Id.)
13
            81.     The four claimants whose arbitrations Arbitrator Dasteel dismissed are not Respondents in
14
     this petition; they are named plaintiffs in Elliott. (Fuchs Decl. ¶ 11.)
15
            82.     Mr. Bucher has represented in an arbitration hearing that Bucher Law could have sought
16
     and obtained the same unenforceability ruling from Arbitrator Dasteel with respect to the other 21
17
     Respondents whose claims are still pending before Arbitrator Dasteel. (Fuchs Decl. ¶ 12.)
18
            83.     Valve has not challenged and will not challenge Arbitrator Dasteel’s orders on
19
     unenforceability. (Fuchs Decl. ¶ 13.)
20
            84.     Valve did not file a petition to vacate Arbitrator Dasteel’s orders under the Federal
21
     Arbitration Act and the time to do so has now expired. See 9 U.S.C. § 12. (Fuchs Decl. ¶ 13.)
22
     G.     Proposed Class Counsel Commence a Putative Nationwide Class Action in This Court
23
            85.     On August 9, 2024, Proposed Class Counsel filed the Elliott putative nationwide class
24
     action against Valve in this Court.
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 1          86.     Proposed Class Counsel named as plaintiffs the four claimants on whose behalf Bucher
 2 Law had sought and obtained orders before Arbitrator Dasteel that the arbitration agreement in the

 3 Superseded SSA was unenforceable. See Complaint ¶¶ 13, 16-19, Elliott (Dkt. 1).

 4          87.     The complaint in Elliott includes all of the claims and relief sought in the arbitrations
 5 Bucher Law is prosecuting on behalf of claimants, including Respondents.

 6          88.     Proposed Class Counsel seek in Elliott to represent a class of consumers that includes all
 7 Respondents and all other claimants in the arbitrations Bucher Law is prosecuting against Valve. The class

 8 is defined as: “All persons and entities who, directly or through an agent, purchased a PC game on the

 9 Steam Store, or purchased an in-game product from a game distributed on the Steam Store, in the United

10 States and its territories.” Complaint ¶ 167, Elliott (Dkt. 1).

11          89.     Proposed Class Counsel represent in the Elliott complaint that “[t]he prosecution of
12 separate actions by individual Class members would create a risk of inconsistent or varying adjudications,

13 establishing incompatible standards of conduct for [Valve].” Complaint ¶ 176, Elliott (Dkt. 1).

14          90.     Bucher Law is prosecuting separate actions in arbitrations before the AAA on behalf of
15 individual Class members, including Respondents.

16          91.     Bucher Law is at the same time representing (i) Respondents in pending arbitrations, and
17 (ii) the named plaintiffs and putative class in Elliott.

18          92.     Bucher Law conceded in dozens of letters to arbitrators that Elliott is “overlapping” with
19 Respondents’ arbitrations.

20          93.     At the time Proposed Class Counsel filed Elliott, Valve’s SSA—the Superseded SSA—
21 contained the arbitration agreement under which this Court compelled the Wolfire Consumer Plaintiffs to

22 arbitration in 2021.

23          94.     Even though the Superseded SSA in effect at the time Elliott was filed included an
24 arbitration agreement, Proposed Class Counsel alleged in Elliott that they can pursue a class action on

25 behalf of a nationwide class in court because Proposed Class Counsel had “won binding decisions from

26 arbitrators rendering Valve’s arbitration provision unenforceable.” Those “binding decisions” are the

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28    PETITION - 24                                                              CORR CRONIN LLP
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 1 decisions rendered by Arbitrator Dasteel on July 8, 2024. In short, the Elliott case is entirely premised on

 2 the Superseded SSA’s arbitration agreement being unenforceable as to all Steam users.

 3            95.      Proposed Class Counsel alleged in the Elliott complaint that the putative class action is
 4 “superior to any other method for the fair and efficient adjudication of this legal dispute.”

 5            96.      Bucher Law previously told potential arbitration claimants the opposite: Bucher Law
 6 represented to potential claimants in marketing materials that arbitration was the superior venue for

 7 obtaining maximum recovery.

 8            97.      In a marketing video Mr. Bucher widely circulated on YouTube, he represented: “Judge
 9 Coughenour . . . ruled [in Wolfire] that [consumers’] claims should be filed through a process called

10 arbitration. Now that’s good news for PC gamers. Because . . . on average, consumers in arbitration

11 recover hundreds of times more than in a class action.” 13

12 H.         Bucher Law Continues To Prosecute Arbitrations on Behalf
              of Respondents and Other Members of the Elliott Putative Class
13
              98.      After filing the Elliott action, Bucher Law continues to prosecute arbitrations before the
14
     AAA on behalf of Respondents and thousands of other claimants, all of whom are included in the putative
15
     Elliott and Wolfire classes.
16
              99.      Mr. Bucher brazenly conceded in arbitration hearings, and at least one arbitrator has found,
17
     that he is pursuing arbitrations and a parallel class action as a “forum shopping” exercise. (Fuchs Decl.
18
     ¶ 16.)
19
              100.     Mr. Bucher also put this forum shopping in concrete terms. He represented in arbitration
20
     hearings that if Respondents do not like the decisions of an arbitrator at any point up until a merits
21
     determination they might withdraw from the arbitrations and participate in the class action. (Fuchs Decl.
22
     ¶ 17.) Based on this admission, an arbitrator has found that Mr. Bucher was engaged in “bet hedging.”
23
     (Id.)
24

25

26
              13
                   https://www.youtube.com/watch?v=3w_pbejggn8.
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 1           101.     In addition, Mr. Bucher admitted that he is using Respondents’ arbitrations as leverage to
 2 further his class action. (Fuchs Decl. ¶ 18.) Indeed, Mr. Bucher represented in arbitration hearings that he

 3 intends to use information learned from arbitration proceedings to support his prosecution of the Elliott

 4 action. (Id.) An arbitrator found on these facts that Mr. Bucher “hopes to use discovery and arbitral

 5 decisions to further its new class action.” (Id.) That arbitrator further held that “it is inefficient and wasteful

 6 to force respondent to arbitrate and litigate simultaneously in multiple fora.” (Id.) That arbitrator also held

 7 that Bucher Law “has engaged in . . . gamesmanship.” (Id.)

 8 I.        Valve Removes the Arbitration Agreement
 9           102.     Valve accepted Arbitrator Dasteel’s determination that the arbitration agreement in the
10 Superseded SSA was unenforceable.

11           103.     On September 26, 2024, Valve removed the arbitration agreement and class action waiver
12 from the SSA. (Lynch Decl. ¶ 5.)

13           104.     When Valve launched the Current SSA, Valve inserted a banner at the top of the agreement
14 prominently announcing: “Valve has updated the Steam Subscriber Agreement. The updates affect your

15 legal rights, including how disputes and claims between you and Valve are resolved. Among other things,

16 the new dispute resolution provisions in Section 10 require that all disputes and claims proceed in court

17 and not in arbitration. Please review carefully.” (Lynch Decl. ¶ 6.) The banner is set forth below.

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     (Id.¶ 6.)
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 1         105.     In addition to the banner displayed above the Current SSA, Valve provided notice of the
 2 change to the SSA to Steam users in three other ways. (Lynch Decl. ¶ 8.)

 3         106.     First, beginning on September 26, 2024, Valve provided email notice to all U.S. Steam
 4 users of the new SSA (the “Email Notice”), sending the notice to the email address of record for their

 5 Steam accounts. (Lynch Decl. ¶ 9.) The Email Notice specifically called out changes to the dispute

 6 resolution provision, providing:

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28   PETITION - 27                                                             CORR CRONIN LLP
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28   PETITION - 28                                              CORR CRONIN LLP
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 1 (Id. ¶ 9.)

 2          107.     The Email Notice included multiple links to the full text of the Current SSA, shown in the
 3 blue text above. (Lynch Decl. ¶ 10.)

 4          108.     Second, beginning on September 26, 2024, Valve provided notice of the new agreement
 5 through an in-app pop-up that appeared when users opened the Steam client (the “Pop-Up Notice”). The

 6 Pop-Up Notice provided:

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     (Lynch Decl. ¶ 11.)
23
            109.     In addition to calling out the changes to the dispute resolution provision, the Pop-Up Notice
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     included multiple links to the full text of the Current SSA, shown in blue text above. (Lynch Decl. ¶ 12.)
25

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28    PETITION - 29                                                                 CORR CRONIN LLP
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 1         110.     The Pop-Up Notice enabled users to agree to the Current SSA by checking a box stating:
 2 “I Agree to the Updated Steam Subscriber Agreement” then clicking “Accept Updated SSA.” (Lynch

 3 Decl. ¶ 13.)

 4         111.     Alternatively, users could close the Pop-Up Notice without agreeing to the Current SSA,
 5 as indicated by the “X” at the top right corner of the pop-up. (Lynch Decl. ¶ 14.)

 6         112.     Third, beginning on September 26, 2024, Valve published a blog post on the Steam
 7 platform       providing   notice   of    the   new     SSA     (the    “Blog       Post”),       available   at
 8 https://store.steampowered.com/news/app/593110/view/4696781406111167991. (Lynch Decl. ¶ 15.) The

 9 Blog Post provided:

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23 (Lynch Decl. ¶ 15.)

24         113.     The Blog Post included multiple links to the full text of the Current SSA, shown in blue
25 text above. (Lynch Decl. ¶ 16.)

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28   PETITION - 30                                                              CORR CRONIN LLP
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 1         114.     The Email Notice and Pop-Up Notice explained: “This updated Steam Subscriber
 2 Agreement will become effective immediately when you agree to it, including when you make most

 3 purchases, fund your Steam Wallet, or otherwise accept it.”

 4         115.     The Email Notice and Pop-Up Notice further provided: “Otherwise, the updated Steam
 5 Subscriber Agreement will become effective on November 1, 2024, unless you delete or discontinue us

 6 of your Steam account before then.”

 7         116.     The Email Notice and Pop-Up Notice explained how users could delete their Steam
 8 account.

 9         117.     Consistent with the Email Notice and Pop-Up Notice, when a user buys a game on Steam,
10 the user is presented with an unchecked box requiring the user to accept the Current SSA, which is

11 hyperlinked to the words “Steam Subscriber Agreement” shown below:

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28   PETITION - 31                                                            CORR CRONIN LLP
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     (Lynch Decl. ¶ 19.)
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            118.     All Steam users have a “Steam wallet” that contains funds which may be used for the
22
     purchase of any game on Steam or within a game that supports Steam transactions. (Lynch Decl. ¶ 17.)
23

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28    PETITION - 32                                                            CORR CRONIN LLP
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 1         119.     Consistent with the Email Notice and Pop-Up Notice, when a user funds a Steam Wallet,
 2 the user is presented with an unchecked box requiring the user to accept the Current SSA, which is

 3 hyperlinked to the words “Steam Subscriber Agreement” shown below:

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23 (Lynch Decl. ¶ 20.)

24         120.     At least 461 of the 624 Respondents have affirmatively accepted the Current SSA by

25 (i) checking the check box affirming “I Agree to the Updated Steam Subscriber Agreement” and clicking

26 “Accept Updated SSA” through the Pop-Up Notice, (ii) making a purchase and agreeing to the Current

27 SSA by checking “I agree to the terms of the Steam Subscriber Agreement (last updated Sep 26, 2024)

28   PETITION - 33                                                            CORR CRONIN LLP
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 1 and clicking the “Purchase” button, (iii) funding a Steam Wallet and agreeing to the Current SSA by

 2 checking “I agree to the terms of the Steam Subscriber Agreement (last updated Sep 26, 2024) and clicking

 3 the “Purchase” button, or (iv) some combination of options (i)–(iii). (Lynch Decl. ¶ 22; App’x A.)

 4          121.     The remaining 163 Respondents will be bound by the Current SSA pursuant to the terms
 5 of the Email Notice and Pop-Up Notice by November 1, 2024, unless they delete or discontinue use of

 6 their Steam accounts. (Lynch Decl. ¶ 26.)

 7          122.     The Current SSA does not contain an arbitration agreement.
 8          123.     The Current SSA provides that all claims and disputes, including claims and disputes that
 9 arose before the effective date of the Current SSA, must proceed in court in Washington:

10                   You and Valve agree that all disputes and claims between you and Valve
                     (including any dispute or claim that arose before the existence of this or any
11                   prior agreement) shall be commenced and maintained exclusively in any
                     state or federal court located in King County, Washington, having subject
12                   matter jurisdiction.
13 (See Ex. B §10 (available at https://store.steampowered.com/subscriber_agreement/).)

14          124.     The Current SSA contains a merger clause providing as follows:
15                   This Agreement, including any Subscription Terms, Rules of Use, the
                     Valve Privacy Policy, and the Valve Hardware Limited Warranty Policy,
16                   constitutes and contains the entire agreement between the parties with
                     respect to the subject matter hereof and supersedes any prior oral or
17                   written agreements.
18 (See Ex. B §11 (available at https://store.steampowered.com/subscriber_agreement/).)

19 J.       Valve Advises This Court in Wolfire of the Update to the SSA Removing
            the Arbitration Agreement and the Plaintiffs in Wolfire Move to Lift the Stay
20
            125.     On September 27, 2024, Valve filed a status report in the Wolfire action notifying this
21
     Court that Valve had removed the arbitration agreement from the SSA. Valve Corporation’s Status Report
22
     re Order (Dkt. 66), Wolfire (Dkt. 362).
23
            126.     On October 3, 2024, the plaintiffs in the Wolfire action moved to lift the stay of six of the
24
     seven Wolfire Consumer Plaintiffs’ claims. Consumer Plaintiffs’ Motion to Lift Stay, Wolfire (Dkt. 366).
25
     The plaintiffs in Wolfire reasoned that “the changes to Section 10 of the SSA now require all disputes and
26
     claims of subscribers outside of the European Union and United Kingdom to be ‘commenced and
27

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 1 maintained exclusively in any state or federal court located in King County, Washington, having subject

 2 matter jurisdiction.’” Id. at 2. “This includes ‘any dispute or claim that arose before the existence of this

 3 or any prior agreement.’” Id.

 4          127.     On October 4, 2024, the consumer plaintiffs in the Wolfire action moved to consolidate the
 5 Wolfire and Elliott actions and for the appointment of Vorys, Sater, Seymour and Pease LLP (“Vorys”)

 6 as interim lead class counsel in the consolidated actions. Consumer Plaintiffs’ Motion to Consolidate and

 7 Appoint Vorys, Sater, Seymour and Pease LLP as Interim Lead Class Counsel, Wolfire (Dkt. 370). In their

 8 motion, the plaintiffs in Wolfire accused Proposed Class Counsel of filing a “copycat” action and taking

 9 a “‘passive approach’” to pursuing claims of the class. Id. at 6.

10          128.     On October 17, 2024, the consumer plaintiffs in the Wolfire action opposed Proposed Class
11 Counsel’s motion to be appointed interim co-lead counsel. Consumer Plaintiffs’ Opposition to Plaintiffs’

12 Opposition to Plaintiffs’ Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher Law PLLC

13 as Interim Co-Lead Class Counsel, Elliott (Dkt. 36) (Ex. 14). In their opposition, the Wolfire consumer

14 plaintiffs reiterated that “[a] concerning amount of [Proposed Class Counsel’s] Class Action Complaint

15 repeats—word for word—allegations from the Consolidated Amended Class Action Complaint in

16 [Wolfire] authored by Vorys and co-counsel.” Id. at 5. The Wolfire consumer plaintiffs identified “forty

17 examples of the Elliott Complaint parroting the exact same language used in the [Wolfire] Complaint.” Id.

18 K.       Bucher Law and Co-Counsel File a Motion in Elliott To Be Appointed
            Interim Co-Lead Counsel Asserting that the Current SSA Applies to All Claimants
19
            129.     On October 2, 2024, Proposed Class Counsel filed a motion to be appointed as interim co-
20
     lead class counsel in Elliott. Plaintiffs’ Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher
21
     Law PLLC as Interim Co-Lead Class Counsel, Elliott (Dkt. 25).
22
            130.     In that motion, Proposed Class Counsel represented to this Court that Valve had
23
     “remove[d] the arbitration provision from its terms of use, along with the associated class action waiver.”
24
     Id. at 5. In the next sentence, Proposed Class Counsel represented: “As a result, Valve consumers are
25
     authorized to proceed in federal court and seek collective relief through the class action vehicle.” Id.
26
     (emphasis added).
27

28    PETITION - 35                                                               CORR CRONIN LLP
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 1         131.     Proposed Class Counsel therefore represented to this Court that the Current SSA applies to
 2 all Valve consumers, including Respondents and all other claimants in the arbitrations Bucher Law is

 3 prosecuting before the AAA.

 4         132.     On October 17, 2024, Valve filed a response to Proposed Class Counsel’s motion to be
 5 appointed interim co-lead counsel. Elliott (Dkt. 32). In its response, Valve explained that Proposed Class

 6 Counsel have an irreconcilable conflict that prevents them from serving as counsel to the putative class

 7 while prosecuting arbitrations on behalf of Respondents and other claimants.

 8 L.      Bucher Law Continues To Prosecute Arbitrations
           and To Argue Before the AAA and Arbitrators that
 9         the Current SSA Does Not Apply to Valve Customers
10         133.     Bucher Law represented to this Court in Elliott that the Current SSA applied to all Valve
11 consumers, including Respondents and all other claimants Bucher Law represents in pending arbitrations.

12 Bucher Law took the opposite position in arbitration proceedings on behalf of Respondents and other

13 claimants Bucher Law represents.

14         134.     In arbitration proceedings before the AAA, Bucher Law has stridently asserted that the
15 arbitration agreement in the Superseded SSA is enforceable and the Current SSA is invalid.

16         135.     Indeed, on September 27, 2024, just a day after Valve removed the arbitration agreement
17 from the SSA, Bucher Law attempted to file with the AAA 42,000 new consumer arbitrations based on

18 the same allegations as in Respondents’ arbitrations and pursuant to the arbitration agreement in the

19 Superseded SSA. (Fuchs Decl. ¶ 20.)

20         136.     Bucher Law could not attempt to file new consumer arbitrations unless its position was that
21 the Current SSA did not apply to these consumers.

22         137.     In an arbitration hearing on October 2, 2024, Mr. Bucher represented: “These reported
23 changes of terms, which appear to be an attempted unilateral modification, . . . under black-letter contract

24 law, [are] not permitted.” (Fuchs Decl. ¶ 21.)

25         138.     In a letter to the AAA dated October 6, 2024, Bucher Law represented that Valve’s
26 “purported recent, unilateral amendment of its contract with claimants (deleting the arbitration

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 1 agreement)” was without effect and did not mandate that the arbitrations be closed. (Fuchs Decl. ¶ 22.)

 2 Bucher Law described Valve’s update to the SSA as a “unilateral and legally infirm terms of use

 3 modification.” (Id.)

 4          139.     Bucher Law has doubled down on this position in submissions to arbitrators. In a letter
 5 dated October 14, 2024, Bucher Law asserted that “[t]he Federal Arbitration Act’s mandate that arbitration

 6 agreements are ‘irrevocable’ prevents Valve Corporation from revoking their arbitration agreement.”

 7 (Fuchs Decl. ¶ 23.) Bucher Law further argued that the Current SSA is a “[u]nilateral modification[]” that

 8 is “unconscionable and therefore unenforceable.” (Id.) Bucher Law also contended that Valve’s “unilateral

 9 modification to the terms . . . violates the implied covenant of good faith and fair dealing, making the

10 purported new terms unenforceable.” (Id.) These positions are all incorrect as a matter of law. They are

11 also directly contrary to what Proposed Class Counsel has represented to this Court in the Elliott action.

12          140.     Bucher Law does not deny that it is taking inconsistent positions to this Court in Elliott
13 (where Bucher Law argues that the Current SSA applies to all members of the putative class) and to

14 arbitrator and the AAA in arbitrations (where Bucher Law argues that the Current SSA does not apply to

15 Respondents or other claimants who are members of the putative class).

16          141.     Bucher Law has sought to justify this inconsistency on the ground that it is not speaking
17 on behalf of the putative class in the arbitrations.

18          142.     Bucher Law’s co-counsel in the arbitrations has stated in an arbitration hearing on behalf
19 of certain Respondents: “Yeah, I won’t deny that [Mr. Bucher] made those [inconsistent] representations

20 on behalf of those clients [in Elliott]. But he has not made that argument for these three clients nor have

21 I. And, you know, black letter law, lawyers are allowed to make different arguments for different clients,

22 and that’s -- we all do that, you know, for whatever reasons.”

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28    PETITION - 37                                                               CORR CRONIN LLP
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 1 M.         Bucher Law Asserts in California State Court
              that the Current SSA Does Not Apply to a Valve Customer
 2
              143.     Bucher Law represented to this Court in Elliott that the Current SSA applied to all Valve
 3
     consumers, including Respondents and all other claimants in pending arbitrations. Bucher Law took the
 4
     opposite position in a petition recently filed in California state court.
 5
              144.     On August 27, 2024, AAA disqualified Arbitrator Martin D. Katz.
 6
              145.     On October 4, 2024, Bucher Law filed a petition in the Superior Court of the State of
 7
     California, Los Angeles County, on behalf of an individual claimant and Respondent in this petition to
 8
     vacate the AAA’s disqualification of Arbitrator Katz.
 9
              146.     There would be no reason for Bucher Law to seek reinstatement of Arbitrator Katz if the
10
     Current SSA applied because under the Current SSA, Valve and Respondents’ claims must proceed in
11
     court.
12
              147.     Bucher Law’s petition therefore assumes that the Current SSA does not apply to the
13
     petitioner and Respondent in this petition.
14
              148.     Among the 25 claimants assigned to Arbitrator Katz before he was disqualified, 18 have
15
     already agreed to the Current SSA.
16
     N.       Proposed Class Counsel’s Representation of the
17            Putative Class in Elliott and Members of the Putative Class
              in Arbitrations Creates Divided Loyalties and a Clear Conflict of Interest
18
              149.     Bucher Law’s loyalties are divided between (i) Respondents and other individual
19
     arbitration claimants who are also putative class members and (ii) the putative class. Those divided
20
     loyalties create a clear conflict of interest.
21
              150.     Class counsel has a duty of loyalty not only to named plaintiffs in a putative class action,
22
     but also absent class members. “Courts have consistently held that counsel cannot simultaneously
23
     represent a class and prosecute either individual or class claims against the same defendants in a different
24
     proceeding.” 1 McLaughlin on Class Actions § 4:39 (20th ed.) (collecting cases). Proposed Class
25
     Counsel’s representation of both the putative class in Elliott and Respondents and other individual
26
     claimants in the arbitrations creates the very conflicts contemplated in this well-established body of law.
27

28    PETITION - 38                                                                    CORR CRONIN LLP
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 1            151.     Overlapping representations are inherently conflicted because they risk favoring one subset
 2 of the class over another.

 3            152.     The mere appearance of divided loyalties creates an irreconcilable conflict. 14
 4            153.     Proposed Class Counsel’s representation of both the putative class in the Elliott action and
 5 individual claimants in the arbitrations creates this very conflict. It gives rise to the risk that counsel could

 6 (i) trade off interests in some cases for others, (ii) take actions in one set of cases that could harm the other,

 7 (iii) prioritize individual arbitration claimants over the class and sell out the absent class members, and

 8 (iv) try to settle all claims at once, thereby creating opportunities to manipulate the allocation of settlement

 9 dollars.

10            154.     Proposed Class Counsel’s effort to bring the Elliott action on behalf of a putative class
11 depends on Proposed Class Counsel’s contention that the Superseded SSA is not enforceable and the

12 Current SSA applies to all members of the putative class. But on behalf of a subset of Respondents and

13 other putative class members in the arbitrations, Bucher Law is claiming the Current SSA is invalid, and

14 the Superseded SSA’s arbitration provision is enforceable. These contradictory positions likely breach

15 counsel’s duties to Respondents and other claimants and to the putative class.

16 O.         Valve Requests that the AAA Administratively Close Claimants’ Arbitrations
17            155.     On September 27, 2024, Valve notified the AAA that (i) an arbitrator ruled that the
18 arbitration agreement in the Superseded SSA was unenforceable and (ii) Valve then removed the

19 arbitration agreement from the SSA that was the basis for jurisdiction with the AAA. (Ex. 6 at 1-2.) Valve

20 therefore requested that the AAA administratively close the arbitrations Bucher Law was prosecuting on

21 behalf of Valve customers. (Id. at 2.)

22            156.     In response, Bucher Law argued that Valve’s request should be denied because the
23 Superseded SSA’s arbitration agreement remains valid and enforceable and the AAA is an administrative

24

25            14
              On October 17, 2024, Valve filed a response to Proposed Class Counsel’s motion to be appointed
   co-lead interim counsel detailing the conflict issues noted herein. See Valve Corporation’s Response to
26 Plaintiff’s Motion to Appoint Hagens Berman Sobol Shapiro LLP and Bucher Law PLLC as Interim Co-
   Lead Counsel, Elliott (Dkt. No. 32).
27

28   PETITION - 39                                                                   CORR CRONIN LLP
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 1 body that cannot make legal determinations. (Fuchs Decl. ¶ 22.) Despite the Elliott case being premised

 2 on the Superseded SSA being unenforceable, Bucher Law described Valve’s implementation of the

 3 Current SSA as a “unilateral and legally infirm terms of use modification.” (Id.)

 4          157.     On October 7, 2024, the AAA notified Valve and Claimants’ Counsel that it would not
 5 administratively close Respondents’ arbitration proceedings. The AAA stated that, “in the absence of an

 6 agreement by the parties or a court order staying or closing these matters, we will proceed with

 7 administration.” (Ex. 5 (emphasis added).)

 8          158.     The AAA notified Valve that it would leave it to a court or 34 merits arbitrators presiding
 9 over 601 pending cases, including all 599 of Respondents’ cases (and two additional cases involving

10 deceased claimants who are not Respondents), to address what the AAA described as “issues of

11 arbitrability and disputes surrounding the applicable contract.” (Ex. 5.)

12 P.       A Court Must Resolve the Parties’ Dispute as to Whether the
            Superseded SSA or the Current SSA Applies to Respondents’ Claims
13
            159.     The Supreme Court held in a unanimous decision issued in May 2024 that a dispute as to
14
     whether an earlier arbitration agreement or a subsequent agreement applies to a claimant’s claim must be
15
     decided by a court and not an arbitrator. See Coinbase, Inc. v. Suski, 602 U.S. 143, 152 (2024). The Court
16
     explained that “disputes are subject to arbitration if, and only if, the parties actually agreed to arbitrate
17
     those disputes.” Id. at 145. Consequently, “a court needs to decide what the parties have agreed to—i.e.,
18
     which contract controls.” Id. The Court came to this conclusion even though the prior agreement in
19
     Coinbase delegated questions of enforceability to the arbitrator.
20
            160.     Coinbase is directly on point here and requires that the court resolve the parties’ dispute as
21
     to which arbitration agreement applies as between the Superseded SSA and the Current SSA.
22

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28    PETITION - 40                                                                 CORR CRONIN LLP
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 1 Q.      All Respondents Are or Will by November 1, 2024, Be Bound by the Current SSA
 2         (a)      All Respondents Received Notice of the SSA Update
 3         161.     Between September 26, 2024, and September 27, 2024, Valve sent the Email Notice to

 4 every Respondent providing notice of the new SSA. (Lynch Decl. ¶ 21.)

 5         162.     Every Respondent who has logged into his or her account on the Steam client between

 6 September 27, 2024, and the present also received the Pop-Up Notice providing notice of the new SSA.

 7         163.     The Blog Post has also been published on the Steam platform and available to Respondents
                                                             15
 8 continuously between September 26, 2024, and the present.

 9         164.     The Current SSA has been available online from September 26, 2024, to the present, in 10

10 languages, through https://store.steampowered.com/subscriber_agreement/.

11         (b)      At Least 461 Respondents Have Affirmatively Agreed to the Current SSA
12         165.     At least 461 of the 624 Respondents have affirmatively accepted the Current SSA (the

13 “Presently Bound Respondents”). (Lynch Decl. ¶ 22; App’x A.)

14         166.     The Superseded SSA provided that Valve and users may mutually amend the agreement.

15 It provided: “This Agreement may at any time be mutually amended by your explicit consent to changes

16 proposed by Valve.”

17         167.     At least 422 Respondents affirmatively accepted the Current SSA by checking the check

18 box affirming “I Agree to the Updated Steam Subscriber Agreement” and clicking “Accept Updated SSA”

19 through the Pop-Up Notice. (Lynch Decl. ¶ 23; App’x A.)

20         168.     At least 39 Respondents affirmatively accepted the Current SSA by making a purchase and

21 agreeing to the Current SSA by checking “I agree to the terms of the Steam Subscriber Agreement (last

22 updated Sep 26, 2024).” (Lynch Decl. ¶ 24; App’x A.)

23

24

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26
           15
                https://store.steampowered.com/news/app/593110/view/4696781406111167991.
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28   PETITION - 41                                                              CORR CRONIN LLP
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 1            (c)      The Remaining 163 Respondents Will Be
                       Bound by the Current SSA by November 1, 2024
 2
              169.     The remaining 163 Respondents will be bound by the Current SSA by November 1, 2024,
 3
     as set forth in the Email Notice and Pop-Up Notice (the “November 1 Bound Respondents”). (Lynch Decl.
 4
     ¶ 26.)
 5
              170.     The Superseded SSA provided that Valve may unilaterally amend the agreement. It
 6
     provided:
 7
                       Valve may amend this Agreement (including any Subscription Terms or
 8                     Rules of Use) unilaterally at any time in its sole discretion. In this case, you
                       will be notified by e-mail of any amendment to this Agreement made by
 9                     Valve at least 30 (30) days before the effective date of the amendment. You
                       can view the Agreement at any time at http://www.steampowered.com/.
10                     Your failure to cancel your Account prior to the effective date of the
                       amendment will constitute your acceptance of the amended terms. If you
11                     don’t agree to the amendments or to any of the terms in this Agreement,
                       your only remedy is to cancel your Account or to cease use of the affected
12                     Subscription(s). Valve shall not have any obligation to refund any fees that
                       may have accrued to your Account before cancellation of your Account or
13                     cessation of use of any Subscription, nor shall Valve have any obligation to
                       prorate any fees in such circumstances. (Ex. A §8(B).)
14
              171.     All November 1 Bound Respondents received the Email Notice.
15
              172.     The Email Notice provided: “This updated Steam Subscriber Agreement will become
16
     effective immediately when you agree to it, including when you make most purchases, fund your Steam
17
     Wallet, or otherwise accept it. Otherwise, the updated Steam Subscriber Agreement will become
18
     effective on November 1, 2024, unless you delete or discontinue us of your Steam account before
19
     then.”
20
              173.     The Pop-Up Notice provided: “This updated Steam Subscriber Agreement will become
21
     effective immediately when you agree to it, including when you make most purchases, fund your Steam
22
     Wallet, or otherwise accept it. Otherwise, the updated Steam Subscriber Agreement will become
23
     effective on November 1, 2024, unless you delete or discontinue us of your Steam account before
24
     then.”
25
              174.     As of October 15, 2024, no Respondent has deleted or requested to delete his or her Steam
26
     account. (Lynch Decl. ¶ 27.)
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28    PETITION - 42                                                                    CORR CRONIN LLP
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 1          175.     Continued use of a service after the service provider implements new terms of service and
 2 provides notice of the new terms constitutes affirmative acceptance of those terms.

 3          176.     As a matter of law, the November 1 Bound Respondents’ failure to delete or discontinue
 4 use of Steam after Valve implemented the Current SSA will constitute affirmative acceptance of the

 5 Current SSA as a matter of law and in accordance with the modification procedure to which they agreed

 6 in the Superseded SSA.

 7 R.       Respondents’ Claims Must Proceed in Court Under the Current SSA
 8          177.     Respondents’ claims must proceed in court in Washington pursuant to the Current SSA.
 9          178.     The Current SSA provides that all claims and disputes, including claims and disputes that
10 arose before the Current SSA, must proceed in court in Washington:

11                   You and Valve agree that all disputes and claims between you and Valve
                     (including any dispute or claim that arose before the existence of this or any
12                   prior agreement) shall be commenced and maintained exclusively in any
                     state or federal court located in King County, Washington, having subject
13                   matter jurisdiction.
14 (See Ex. B §10 (available at https://store.steampowered.com/subscriber_agreement/english/#10).)

15          179.     The plain language of this clause states that it applies to all disputes or claims that arose
16 before the existence of the Current SSA, which includes Respondents’ claims in pending arbitrations

17 before the AAA.

18          180.     Under well-settled law, a forum selection clause applies to accrued claims, including
19 pending claims, where, as here, the clause expressly provides for retroactive effect. See, e.g., Dasher v.

20 RBC Bank (USA), 745 F.3d 1111, 1127 (11th Cir. 2014) (new agreement without arbitration clause

21 superseded and applied retroactively to foreclose arbitration under a prior agreement containing an arbitration

22 clause where claim was originally asserted when defendant had arbitration clause); In re Nat’l Football

23 League’s Sunday Ticket Antitrust Litig., 2021 WL 2350814, at *4 (C.D. Cal. Apr. 20, 2021) (enforcing

24 agreement revised two years after suit filed); Laster v. T-Mobile USA, Inc., 2008 WL 5216255, at *6 (S.D.

25 Cal. Aug. 11, 2008) (holding that agreement that “retrospectively modif[ied] the original service contract

26 after the present litigation had already begun” nonetheless applied).

27

28    PETITION - 43                                                                 CORR CRONIN LLP
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 1 S.       Allowing the Bucher Law Arbitrations on Behalf of
            Respondents To Proceed Would Interfere with the Jurisdiction of
 2          This Court in Elliott and Wolfire in Violation of the All Writs Act
 3          181.     Bucher Law is prosecuting arbitrations before the AAA on behalf of Respondents.

 4          182.     Proposed Class Counsel are also prosecuting a putative class action in this Court, the Elliott

 5 action, on behalf of a putative class that includes Respondents and encompasses all of the claims and relief

 6 sought in Respondents’ arbitrations.

 7          183.     There is also a parallel putative class action in this Court, the Wolfire action, brought on

 8 behalf of a putative class that includes Respondents and encompasses all of the claims and relief sought

 9 in Respondents’ arbitrations.

10          184.     It would threaten the jurisdiction of this Court and any judgment of this Court in Elliott

11 and Wolfire for arbitrations prosecuted by Bucher Law on behalf of Respondents to proceed because the

12 arbitrations could result in rulings inconsistent with the rulings of this Court.

13          185.     It would also be a manifest waste of the parties’ and judicial resources to permit Bucher

14 Law to forum shop by proceeding in two forums on behalf of the putative class.

15 T.       Valve Is Suffering and Will Continue To Suffer Irreparable Harm
16          186.     Valve is suffering, and absent an order enjoining Respondents’ arbitrations, will continue

17 to suffer irreparable harm if the arbitrations Bucher Law is prosecuting on behalf of Respondents proceed.

18          187.     Absent an injunction, arbitrations with respect to the claims of Respondents likely will

19 proceed before the AAA.

20          188.     Although Valve has requested that the AAA close the arbitrations administratively for lack

21 of jurisdiction, the AAA determined that a court or the merits arbitrators must resolve that question.

22          189.     The arbitrators cannot decide the parties’ dispute as to whether the Superseded SSA or the

23 Current SSA governs Respondents’ arbitrations.

24          190.     Under Coinbase, this Court must make that determination.

25          191.     Nonetheless, arbitrators in several of Respondents’ arbitrations before the AAA have

26 held—despite not having the legal capacity to do so—that the arbitrations may proceed. (Fuchs Decl.

27

28    PETITION - 44                                                                 CORR CRONIN LLP
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 1 ¶ 24.) Other arbitrators have stayed proceedings. (Id.) And still other arbitrators have ordered the parties

 2 to brief which agreement applies to Respondents’ claims, even though that is a determination that only a

 3 court can make. (Id.)

 4         192.     Absent an injunction, Valve will expend time and resources defending against
 5 Respondents’ claims in arbitration, none of which are arbitrable.

 6         193.     This time and expense incurred will be substantial. Arbitrations are proceeding before 34
 7 different arbitrators. (Fuchs Decl. ¶ 25.) Each arbitrator holds separate hearings, requires the parties to

 8 brief and argue issues separately, and issues separate orders on discovery issues. (Id.)

 9         194.     The threshold issue of which SSA governs will be submitted to multiple arbitrators (who
10 cannot decide that issue under Coinbase) while this petition proceeds simultaneously, risking inconsistent

11 rulings and wasteful proceedings.

12         195.     Any arbitral awards will not be enforceable because there is no right to arbitrate.
13         196.     Any arbitral decisions, orders, or awards may also conflict with rulings of this Court in
14 Wolfire and/or Elliott presiding over putative class actions that include Respondents as putative class

15 members and the claims and relief sought in Respondents’ duplicative arbitrations.

16         197.     As Proposed Class Counsel acknowledge in the complaint in Elliott, “[t]he prosecution of
17 separate actions by individual Class members would create a risk of inconsistent or varying adjudications,

18 establishing incompatible standards of conduct for [Valve].” Complaint ¶ 176, Elliott (Dkt. 1).

19 U.      The Balance of Equities Favors Valve
20         198.     The balance of equities supports an injunction.
21         199.     Forcing Valve to engage in arbitration where Respondents are not bound to arbitrate and
22 instead must pursue their claims in court under the Current SSA serves no equitable purpose.

23         200.     On the contrary, Valve will be subject to harassing and vexatious proceedings that Bucher
24 Law on behalf of Respondents has no right to pursue.

25         201.     Indeed, Bucher Law targeted Valve and Steam users, including Respondents, to
26 “weaponize[]” Valve and Respondents’ now superseded SSA. (Ex. 1 at 3.)

27

28   PETITION - 45                                                                CORR CRONIN LLP
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 1          202.     Bucher Law stated that “[a]ggregating claims makes [the] entrance fee to just defend
 2 prohibitively expensive,” providing leverage for immediate settlements. (Ex. 1 at 3.)

 3          203.     To effectuate this strategy, Bucher Law commenced thousands of arbitrations, apparently
 4 without conducting any investigation: it filed arbitrations on behalf of at least seven individuals who

 5 appear to be deceased; at least 96 individuals who are represented by other law firms asserting

 6 substantively identical arbitration claims, and at least 19 individuals who are in active bankruptcy

 7 proceedings. 16

 8          204.     On October 20, 2023, Valve filed a lawsuit against Bucher Law alleging that Bucher Law
 9 committed abuse of process and tortious interference with Valve’s SSA with Steam users through Bucher

10 Law’s mass arbitration scheme targeting Valve. See Complaint, Valve Corp. v. Bucher Law PLLC, No. 23-

11 2-20447-6-SEA (Wash. Super. Ct. filed Oct. 2, 2023) (Ex. 2.) Bucher Law sought to dismiss that lawsuit.

12 The court denied Bucher Law’s request, finding that (i) “Valve has alleged sufficient facts to establish a

13 plausible claim of tortious interference” and (ii) “Valve has also alleged sufficient facts to plausibly allege

14 a claim of abuse of process, particularly given the unique circumstances of the case.” (Ex. 3 at 2.)

15          205.     Bucher Law has conceded that Bucher Law intended to forum shop by prosecuting a class
16 action in Elliott and individual actions on behalf of putative class members in arbitration. (Fuchs Decl.

17 ¶ 16.) Nor do Respondents receive any benefit from proceeding with arbitration. Respondents will waste

18 time and energy pursuing arbitrations at Bucher Law’s behest that cannot proceed and where any arbitral

19 award will be vacated.

20          206.     Respondents will also suffer no prejudice from an injunction. Respondents may pursue
21 their claims in court.

22          207.     In fact, there are already two putative class actions against Valve, Wolfire (which was filed
23 in 2021, well before Bucher Law filed its arbitrations) and Elliott, asserting overlapping claims on behalf

24 of Respondents and other members of a putative nationwide class.

25

26          16
              These statistics do not include the additional 42,000 claimants on whose behalf Bucher Law
     attempted unsuccessfully to file arbitrations.
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28    PETITION - 46                                                                 CORR CRONIN LLP
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 1         208.     Respondents may not be aware of these two pending putative class actions.
 2 V.      The Public Interest Favors an Injunction
 3         209.     There is no public interest in requiring Valve and Respondents to arbitrate disputes that
 4 must proceed in court and where any arbitral award will be vacated.

 5         210.     Permitting arbitrations and parallel actions, including the Elliott and Wolfire putative class
 6 actions, to proceed would be a manifest waste of judicial resources.

 7                                           PRAYER FOR RELIEF
 8         WHEREFORE, Valve respectfully requests that this Court award the following relief:
 9         (a)      A declaration pursuant to 28 U.S.C. § 2201 that the Current SSA is valid and enforceable.
10         (b)      A declaration pursuant to 28 U.S.C. § 2201 that the Current SSA, including Section 10 of
11                  the Current SSA, applies to all disputes and claims between Valve and its users regardless
12                  of when they arose, including all claims in pending arbitrations.
13         (c)      A declaration pursuant to 28 U.S.C. § 2201 that the Presently Bound Respondents have
14                  entered into the Current SSA and are bound by the Current SSA.
15         (d)      A declaration pursuant to 28 U.S.C. § 2201 that the November 1 Bound Respondents will
16                  enter into the Current SSA by no later than November 1, 2024, and will be bound by the
17                  Current SSA by that date.
18         (e)      An order pursuant to 9 U.S.C. § 4, 28 U.S.C. §§ 2201-02, and 28 U.S.C. § 1651(a),
19                  enjoining Respondents’ arbitrations before the AAA that Bucher Law is prosecuting on
20                  Respondents’ behalf.
21         (f)      Any other relief that the Court deems just and appropriate.
22

23

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28   PETITION - 47                                                                 CORR CRONIN LLP
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 1 DATED this 18th day of October 2024.

 2
                                          s/ Blake Marks-Dias
 3                                        Blake Marks-Dias, WSBA No. 28169
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11
                                          Attorneys for Petitioner Valve Corporation
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28   PETITION - 48                                                      CORR CRONIN LLP
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                 APPENDIX A
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                                                                            Current SSA   Current SSA
 Claimant              Claimant
                                         Case Number           Arbitrator   Accepted By   Accepted By
First Name            Last Name1
                                                                             Purchase       Pop-Up
   Ryan                  Ardito         012300053635            Badal
   Riley                Baxter          012300053643            Badal                         X
 Michael                Brewer          012300053651            Badal                         X
  Owen               Butterworth        012300053641            Badal
Jonathan                Carlton         012300053626            Badal
 Michael               Eastman          012300053631            Badal
 Brandon               Garwell          012300053628            Badal                         X
   Liam            Gaume-wakefield      012300053650            Badal                         X
    Ian                 Govea           012300053634            Badal                         X
   Evan                  Grant          012300053632            Badal                         X
   Ricky                Horne           012300053630            Badal                         X
   Dane                 Jordan          012300053652            Badal           X
Nicholas                 Keith          012300053648            Badal                         X
     Aj                   Lane          012300053636            Badal
   Max                 Moakley          012300053627            Badal                         X
 Malakye                Moody           012300053644            Badal           X
  Harley                Palmer          012300053637            Badal                         X
 Mitchell             Papendorf         012300053646            Badal                         X
   Alex                 Patrao          012300053625            Badal                         X
    Eric                Patton          012300053639            Badal                         X
 Anthony                Rubino          012300053647            Badal                         X
 Zachary                 Smith          012300053642            Badal                         X
  Isaiah                 Taylor         012300053633            Badal           X
   Cody                 Warren          012300053640            Badal                         X
   Brian                  Yeh           012300053629            Badal                         X
  Jacob                 Archer          012300053080            Brooks                        X
    Eric                 Buck           012300053195            Brooks                        X
   Paul                 Burnett         012300053051            Brooks
 Harrison               Carlow          012300052857            Brooks                        X
 Spencer                Duzant          012300053604            Brooks                        X
  Robert                Fischer         012300053152            Brooks                        X
Matthew               Habursky          012300053000            Brooks
  Daniel                Harley          012300053112            Brooks
  Logan                 Herald          012300053211            Brooks                        X
Philipjohn             Holland          012300057450            Brooks                        X
Matthew                  Husar          012300053200            Brooks

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     Names based on information provided by Bucher Law PLLC.
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                                                                 Current SSA   Current SSA
 Claimant         Claimant
                                  Case Number       Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                                  Purchase       Pop-Up
    Nick            Lauder        012300053351       Brooks                        X
    Sam             Lomax         012300053448       Brooks                        X
Panayiotis       Maniscalco       012300052879       Brooks          X
    Ross           Martikke       012300053423       Brooks                        X
    Luke          Ninemire        012300053816       Brooks                        X
  Joseph              Risi        012300053838       Brooks                        X
  Joshua            Sayles        012300052851       Brooks
    Jake             Sigal        012300053654       Brooks                        X
 Holden            Stender        012300053807       Brooks                        X
    Tyler          Strenge        012300052865       Brooks                        X
   Jonah            Warner        012300053348       Brooks                        X
    Eric          Alspaugh        012300053672       Coher                         X
   Noah        Babincsak Styzen   012300053666       Coher                         X
 Stephen              Barr        012300053653       Coher                         X
 Michael            Bazzell       012300053662       Coher                         X
 Anthony           Bennett        012300053674       Coher                         X
 Vincent            Brown         012300053663       Coher
   Ethan            Brown         012300053682       Coher                         X
    Ned              Budd         012300053665       Coher                         X
Benjamin          Camenker        012300053669       Coher
  Traber            Fischer       012300053680       Coher                         X
   Mikel           Hatcher        012300053676       Coher           X
 Michael            Kutner        012300053673       Coher                         X
 Timothy            Leucht        012300053660       Coher
  Joshua             Lewis        012300053664       Coher                         X
   Talon             Lewis        012300053667       Coher                         X
Jonathan             Lewis        012300053668       Coher                         X
 Thomas             Magera        012300053661       Coher           X
    Kyle           Mayfield       012300053679       Coher                         X
  Hunter          Mcbrayer        012300053670       Coher
    Trey           Mundell        012300053657       Coher           X
   Harsh             Patel        012300053659       Coher                         X
   Noah              Perry        012300053675       Coher                         X
   Aaron           Peterson       012300053677       Coher                         X
    Jerry            Terry        012300053658       Coher
  Tristen          Watson         012300053655       Coher                         X
    Amir            Wright        012300038815       Coher                         X
 Carissa           Campos         012300053425        Cohn



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                                                              Current SSA   Current SSA
 Claimant         Claimant
                               Case Number       Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                               Purchase       Pop-Up
 Matthew            Fossett   012300053426         Cohn                         X
  Austin            Maltbia   012300053421         Cohn
  Elijah           Monroe     012300053427         Cohn           X
   Seth              Myers    012300053424         Cohn                         X
Benjamin         Shemenski    012300053422         Cohn                         X
    Ely             Young     012300053419         Cohn                         X
  Jonah             Anders    012300053368        Collins                       X
  Daniel          Armstrong   012300053486        Collins                       X
 Michael            Blanco    012300053525        Collins                       X
  Jason            Courter    012300053312        Collins                       X
Drevayne           Dawkins    012300057461        Collins         X
   John             Forrest   012300052880        Collins                       X
 Donald          Goldsmith    012300057449        Collins                       X
    Eli              Groff    012300052990        Collins                       X
Christian         Horazeck    012300053527        Collins                       X
   Odis            Kendrick   012300052856        Collins
   Mark               Legg    012300053004        Collins
   Kyle              Lynch    012300057462        Collins
 Clayton              Lynn    012300053808        Collins
   Yuri             Motruk    012300053738        Collins                       X
  Collin           Peacock    012300057453        Collins                       X
  Deven            Peterson   012300053275        Collins                       X
   John          Quarnstrom   012300053316        Collins                       X
  Tracy          Richardson   012300053361        Collins                       X
  Julius           Roberts    012300053247        Collins                       X
  Chris           Robinson    012300053649        Collins                       X
  Robert              Rule    012300052881        Collins                       X
  Robert          Schindler   012300053084        Collins                       X
  Daniel             Smith    012300052869        Collins                       X
 J Derek            Wright    012300057442        Collins                       X
  Gavin              Baker    012300052868        Dasteel
Stephanie        Blomstrom    012300052896        Dasteel                       X
   Kiley             Borba    012300052889        Dasteel
 Andrew              Butler   012300052900        Dasteel                       X
 Maurice            Castro    012300052890        Dasteel
   Riley          Chapman     012300052898        Dasteel                       X
 Manfred           Dentice    012300052901        Dasteel
  Raciel              Diaz    012300052872        Dasteel                       X



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                                                                 Current SSA   Current SSA
 Claimant          Claimant
                                  Case Number       Arbitrator   Accepted By   Accepted By
First Name        Last Name1
                                                                  Purchase       Pop-Up
 Jeremiah          Dieujuste      012300052884      Dasteel                        X
  Gordon           Huckaby        012300052861      Dasteel
 Bridgette          Mcbride       012300052892      Dasteel                        X
   James           McDonald       012300052888      Dasteel
  Mitchell          Pakosz        012300052853      Dasteel
  Michael          Patterson      012300052860      Dasteel                        X
 Pharaun              Potts       012300052859      Dasteel                        X
      Joe             Rios        012300052850      Dasteel
  Samuel            Roberts       012300052893      Dasteel                        X
     Greg            Smith        012300052882      Dasteel                        X
     Luis        Sotillet Rojas   012300052883      Dasteel
     Mark         Williams Jr     012300052870      Dasteel                        X
    Jacob             Zide        012300052854      Dasteel                        X
    Cody             Ackley       012300053336      Gaglione                       X
 Christien           Ayson        012300053334      Gaglione
 Matthew            Baldwin       012300053347      Gaglione                       X
     Ryan            Borek        012300053360      Gaglione
  Mitchell          Coburn        012300053343      Gaglione         X
  Michael          Daugherty      012300053357      Gaglione                       X
  Gabriel            Durbin       012300053335      Gaglione                       X
   Mason              Field       012300053355      Gaglione                       X
     Tyler       Francesconi      012300053338      Gaglione                       X
  Thomas            Garrett       012300053353      Gaglione
   Robert         Grescowle       012300053333      Gaglione                       X
     Rob            Hauser        012300053345      Gaglione         X
     Ann             Hefner       012300053340      Gaglione
 Kasandra             Hiley       012300053346      Gaglione
  Patrick            Kuller       012300053356      Gaglione                       X
  Richard         Lundsgaard      012300053358      Gaglione                       X
   Jordan            Newby        012300053359      Gaglione                       X
Christopher       Prato-shein     012300053342      Gaglione                       X
  Bradley            Ratliff      012300053341      Gaglione                       X
   Andre            Santana       012300053362      Gaglione                       X
     John            Taddei       012300053339      Gaglione
  Xzavier          Timmons        012300053349      Gaglione
  Merrick            Tipton       012300053354      Gaglione                       X
    Katie           Uccello       012300053363      Gaglione                       X
  Michael              Wu         012300053337      Gaglione                       X



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                                                              Current SSA   Current SSA
 Claimant         Claimant
                               Case Number       Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                               Purchase       Pop-Up
    Tyler            Kemp      012300057451       Gilman                        X
   Cody            Stewart     012300057459       Gilman                        X
    Greg              Fish     012300053288        Goins                        X
Christian           Graber     012300053702        Goins
   Ethan           Lefebvre    012300057452        Goins                        X
 Jeremy              Lucas     012300053823        Goins                        X
 Zachary           Aletheia    012300053259       Gruber                        X
   Angel             Ayala     012300053273       Gruber                        X
   Kevin            Burnett    012300053268       Gruber                        X
    Eric          Chastain     012300053058       Gruber
  Rocco             Cipolla    012300053066       Gruber                        X
    Julio             Cruz     012300053266       Gruber
   Kevin            Dahlke     012300053264       Gruber
     Jon          Francisco    012300053265       Gruber                        X
  Robert            Gibson     012300053271       Gruber                        X
    Tyler           Gilbert    012300053270       Gruber
  Supyo              Hong      012300053054       Gruber                        X
  Jayson            Huber      012300053060       Gruber                        X
 Maxwell           Johnson     012300053061       Gruber                        X
Nicholas             Kirse     012300053065       Gruber                        X
  Jordan             Mack      012300053269       Gruber                        X
   Jason            Mccall     012300053274       Gruber
   Ricky            Mullins    012300053056       Gruber                        X
   Jacob            Naquin     012300053262       Gruber                        X
Jonathan              Ortiz    012300053272       Gruber                        X
  Skylar             Pond      012300053261       Gruber                        X
   David             Reed      012300053062       Gruber
   Allen            Roman      012300053260       Gruber                        X
  Trevor             Rupel     012300053053       Gruber
    Ryan           Sheline     012300053059       Gruber                        X
 Patrick            Squire     012300053064       Gruber                        X
 Patrick          Titterness   012300053267       Gruber
Kenneth             Walker     012300053055       Gruber
 Joshua             Wyant      012300053063       Gruber                        X
     Tai            Bishop     012300053074       Jossen                        X
    Cory              Cleri    012300053092       Jossen                        X
Elizabeth         Dingman      012300053071       Jossen
   Jacob              Ford     012300053075       Jossen                        X



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                                                              Current SSA   Current SSA
 Claimant         Claimant
                               Case Number       Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                               Purchase       Pop-Up
   Joseph           Gentry     012300053076       Jossen
    Jason           Gibbs      012300053089       Jossen                        X
Don "doc"           Guger      012300053068       Jossen                        X
  Jackson           Heath      012300053081       Jossen                        X
    Adam          Henchen      012300053093       Jossen                        X
 Nicholas          Howell      012300053090       Jossen                        X
    Ryan            Jurado     012300053072       Jossen                        X
     Amy             Lutes     012300053077       Jossen                        X
    Javier           Nieto     012300053082       Jossen
  Richard           Noble      012300053083       Jossen                        X
  Wesley           Parmer      012300053091       Jossen
     Mike            Pena      012300053078       Jossen
  Andrew           Rosson      012300053069       Jossen
  Leonard          Sanders     012300053088       Jossen                        X
   Austin           Schau      012300053086       Jossen
   Joseph          Shelley     012300053087       Jossen
    Kevin           Taylor     012300053070       Jossen                        X
      Leif        Tollefson    012300053073       Jossen                        X
     Tyler          Wright     012300053067       Jossen                        X
Johnathan              Yi      012300053079       Jossen                        X
     John            Zwick     012300053085       Jossen
   Yousif         Alsaqlawi    012300053450        Katz                         X
 Jonathan            Beer      012300053466        Katz
     Rich         Cambern      012300053462        Katz
   Steven        Carmiencke    012300053459        Katz                         X
    Adam            Carroll    012300053461        Katz
     Nick           Carter     012300053472        Katz                         X
    Jason            Clark     012300053469        Katz                         X
   Daniel          Duncan      012300053456        Katz                         X
    Haley         Eskridge     012300053454        Katz                         X
     Jake          Flaherty    012300053476        Katz                         X
     Mike          Hespel      012300053474        Katz
  Braxten            Hieb      012300053463        Katz                         X
  Timothy         Kaiserlik    012300053458        Katz                         X
Alexander           Lopez      012300053460        Katz                         X
    Travis        Micheletti   012300053467        Katz           X
  Maxwell           Mucha      012300053471        Katz                         X
    Jared            Perry     012300053477        Katz           X



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                                                               Current SSA   Current SSA
 Claimant          Claimant
                                Case Number       Arbitrator   Accepted By   Accepted By
First Name        Last Name1
                                                                Purchase       Pop-Up
   Blake           Petersen    012300053455         Katz                         X
   Kevin             Ramos     012300053465         Katz
   Ethan          Rodabaugh    012300053470         Katz                         X
Christopher        Stephan     012300053453         Katz                         X
   Dillon           Stettler   012300053457         Katz                         X
   Amber             Toney     012300053473         Katz                         X
Christopher           Veiga    012300053475         Katz                         X
   Jonah             White     012300053452         Katz                         X
    Cody             Barker    012300053417       Kingsley
   Jacob            Deegan     012300053400       Kingsley                       X
   Logan             Doose     012300053394       Kingsley                       X
 Abraham            Duman      012300053399       Kingsley                       X
   Taylor          Edwards     012300053395       Kingsley                       X
  Nathan             Engols    012300053413       Kingsley
   Sacha           Haghighi    012300053398       Kingsley         X
 Broderick           Hebert    012300053393       Kingsley                       X
    Kyle            Jackson    012300053416       Kingsley
    Max            Johnson     012300053401       Kingsley                       X
   Justin             Jones    012300053410       Kingsley                       X
  Gregory              Kain    012300053414       Kingsley                       X
    Seth             Lewis     012300053418       Kingsley
  Michael           Linares    012300053404       Kingsley
   Roger            Maricle    012300053402       Kingsley                       X
Jodee Lynn           Molina    012300053403       Kingsley                       X
   Devon             Musto     012300053411       Kingsley                       X
  Joshua            Roberts    012300053396       Kingsley                       X
 Rudolph           Romano      012300053406       Kingsley
   Jason             Smith     012300053408       Kingsley                       X
  Samuel            Stevens    012300053392       Kingsley                       X
   Kaleb             Swaim     012300053412       Kingsley                       X
Dominique             Ward     012300053405       Kingsley                       X
   Mason             Wright    012300053397       Kingsley                       X
 Anthony             Gazzo     012300053009        Larkin
 Nicholas          Mastriaco   012300053532        Larkin                        X
    Marc               Ura     012300053407        Larkin                        X
    Noe              Adame     012300053322         Levy
  Timothy         Broughton    012300053331         Levy
 Nicolaas             Bush     012300053319         Levy                         X



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                                                              Current SSA   Current SSA
 Claimant         Claimant
                               Case Number       Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                               Purchase       Pop-Up
Duwayne            Counts      012300053325       Levy                          X
 Andrew           Davidson     012300053330       Levy
  Josiah            Eredia     012300053323       Levy                          X
 Keelan            Esquivel    012300053332       Levy                          X
    Nico          Estebanez    012300053311       Levy
 Michael             Ewing     012300053308       Levy                          X
Alexander           Fowler     012300053320       Levy
  Adrian            Fritzley   012300053309       Levy
  David            Hedrick     012300053324       Levy                          X
  Martin          Hernandez    012300053321       Levy
     Jon             Hoke      012300053328       Levy                          X
   Alisa           Kalegina    012300053317       Levy
 Shawn               Peck      012300053306       Levy                          X
Jonathan             Perry     012300053310       Levy                          X
    Niko             Pitinii   012300053313       Levy                          X
   Isaac            Ramos      012300053307       Levy                          X
 Joseph               Ray      012300053304       Levy
    John            Reeves     012300053326       Levy
  Victor             Romo      012300053327       Levy
 Mitchell           Strang     012300053315       Levy
  James            Walters     012300053305       Levy                          X
  Xenia               Yee      012300053329       Levy                          X
  Jacob             Arthur     012300053560      Mainland                       X
  Roger             Barrett    012300053553      Mainland
  Aaron           Castaneda    012300053539      Mainland                       X
  Clyde            Chaffee     012300053548      Mainland                       X
     Ian           Cheney      012300053544      Mainland                       X
  James             Clarke     012300053537      Mainland                       X
  Chase            Couzens     012300053546      Mainland                       X
  Curtis       Drommerhausen   012300053556      Mainland
    Zack           Finfrock    012300053562      Mainland                       X
  Julian            Gariba     012300053551      Mainland                       X
Alejandro          Garrido     012300053538      Mainland         X
 Michael            Huege      012300053541      Mainland
   Chris             Huss      012300053559      Mainland                       X
  Daniel            Lahner     012300053563      Mainland
  Justin            Leffert    012300053547      Mainland                       X
  Travis           Maynard     012300053550      Mainland                       X



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                                                              Current SSA   Current SSA
 Claimant         Claimant
                               Case Number       Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                               Purchase       Pop-Up
  James           Mcinerny    012300053536       Mainland                       X
 Charles             Niles    012300053555       Mainland
 Michael         Pacholczak   012300053557       Mainland                       X
   Jesse           Perlaza    012300053561       Mainland                       X
  James           Reynolds    012300053540       Mainland         X
Jemellee           Santos     012300053564       Mainland
Salvatore         Sardisco    012300053543       Mainland                       X
 Michael         Shingleton   012300053554       Mainland
  Adam              Zuniga    012300053552       Mainland         X
 Meagan              Argo     012300052915       McNamara                       X
    Seth            Weber     012300053581       McNamara
   Abed            Balbaky    012300053314        McSorley                      X
    Alec         Birenbaum    012300053145        McSorley
Kenshad             Brown     012300052886        McSorley                      X
 Mateus             Cunha     012300053542        McSorley                      X
    Ajay             Dalal    012300053696        McSorley                      X
 Joshua           Depalma     012300053802        McSorley        X
  Corbin         Echevarria   012300053238        McSorley                      X
   Brett             Flinn    012300053173        McSorley                      X
   Cole             Hagan     012300053175        McSorley                      X
   Aleck         Hernandez    012300053225        McSorley                      X
Armando            Martinez   012300053106        McSorley                      X
    Paul            Mayer     012300053433        McSorley
   Mark            Mendel     012300053517        McSorley                      X
Alexander        Mishkevich   012300053344        McSorley                      X
 Anthony          Mittasch    012300053698        McSorley
  Conor          Moschella    012300053762        McSorley                      X
  Robert          Richelson   012300052936        McSorley        X
 Gabriel          Rodrigues   012300053105        McSorley        X
   Mark           Schaefer    012300053678        McSorley
Matthew           Ventures    012300053681        McSorley
  Lance            Vicente    012300053352        McSorley
 Bernard            Vignali   012300052957        McSorley                      X
  Robert            Woolf     012300053590        McSorley                      X
    Jake          Wuebker     012300053219        McSorley                      X
Matthias         Armstrong    012300052951         Morrill
  Jeffrey          Cassick    012300052934         Morrill                      X
Nicholas            Foster    012300052940         Morrill



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                                                            Current SSA   Current SSA
 Claimant         Claimant
                               Case Number     Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                             Purchase       Pop-Up
 Charles             Gill      012300052933     Morrill                       X
 Bashari           Guidry      012300052935     Morrill                       X
 Bradyn            Hamel       012300052942     Morrill         X
  Baylen           James       012300052947     Morrill                       X
    Itiel         Jimenez      012300052954     Morrill
   Jared          Johnson      012300052946     Morrill                       X
 Thomas         Mcsweeney      012300052938     Morrill                       X
   Alice           Millage     012300052944     Morrill
Alexander        Pachnicki     012300052953     Morrill                       X
 Joshua             Page       012300052941     Morrill                       X
    Jeff          Pellegrin    012300052929     Morrill                       X
  Dustin           Phelps      012300052930     Morrill                       X
  Mateo            Platero     012300052937     Morrill
  Steven          Prescott     012300052943     Morrill
 Thomas           Rolando      012300052939     Morrill                       X
   John         Schweizer Ii   012300052945     Morrill
     Ian           Stubbs      012300052932     Morrill                       X
  Nicky              Sun       012300052950     Morrill                       X
Matthew          Sweeney       012300052948     Morrill         X
  Maisie           Turner      012300052949     Morrill                       X
                Wasielewski-
 Joseph                        012300052931     Morrill
                    walsh
 Zachary           Yahola      012300052952     Morrill         X
  Fabian          Arevalo      012300053034     Ohashi                        X
   Noah             Burch      012300053033     Ohashi                        X
  Chase           Froelich     012300053015     Ohashi                        X
  Tasha          Goldsmith     012300053036     Ohashi                        X
  Daniel        Guadarrama     012300053031     Ohashi
  Trevor          Laturner     012300053024     Ohashi                        X
 Corinne             Lee       012300053035     Ohashi
 Broden          Mcduffee      012300053037     Ohashi                        X
   Barry          Morganti     012300053032     Ohashi
   Cole            Nelson      012300053017     Ohashi                        X
 Michael           Owens       012300053019     Ohashi                        X
   Eliel            Pedro      012300053025     Ohashi                        X
  Alyssa           Phillips    012300053028     Ohashi                        X
 Cortland          Pinnick     012300053027     Ohashi                        X
 Matthew           Powell      012300053018     Ohashi          X



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                                                            Current SSA    Current SSA
 Claimant          Claimant
                                Case Number    Arbitrator   Accepted By    Accepted By
First Name        Last Name1
                                                             Purchase        Pop-Up
   Quinn          Rasmussen    012300053022     Ohashi                         X
 Nicholas           Rugama     012300053023     Ohashi                         X
    Ethan             Sams     012300053016     Ohashi                         X
  Anthony            Simoni    012300053026     Ohashi                         X
    Ryan             Smith     012300053030     Ohashi                         X
    Norm            Somers     012300053021     Ohashi          X
    Tyler             Stulz    012300053020     Ohashi                         X
   Lucian         Thompson     012300053029     Ohashi
    Kevin            Viloria   012300053039     Ohashi                         X
   Luther           Williams   012300053038     Ohashi                         X
    Ryan            Adreani    012300053645     Palomo                         X
 Matthew              Baer     012300053169     Palomo                         X
 Raymond             Garay     012300052907     Palomo                         X
    Virgil          Glisson    012300052877     Palomo                         X
    Devin            Harvey    012300053177     Palomo                         X
    Jurell           Jordan    012300052866     Palomo                         X
   Derek             Krause    012300057458     Palomo                         X
    Deric           Landers    012300053014     Palomo                         X
  Ezekiel         Mccracken    012300052897     Palomo                         X
   Adrian            Monter    012300053131     Palomo                         X
    Ryan             Moore     012300052978     Palomo                         X
 Nathaniel           Moore     012300053597     Palomo                         X
  Bonnie            Murphy     012300053777     Palomo                         X
  Garland             Noel     012300053256     Palomo                         X
    Gary           Palmatier   012300052858     Palomo                         X
   Robert          Richards    012300053224     Palomo                         X
 Alexander         Rodriguez   012300053464     Palomo                         X
  Joshua           Sammons     012300053549     Palomo                         X
  Ramon             Serrano    012300052873     Palomo
    Dylan           Smyers     012300052871     Palomo          X
  Decker            Spencer    012300053318     Palomo                         X
 Matthew            Stengel    012300053101     Palomo                         X
   Randy            Wozniak    012300053245     Palomo          X
Christopher           Bittle   012300053241      Pope                          X
   Griffin            Byer     012300053237      Pope
   Myles            Coffman    012300053214      Pope
   Mason              Coon     012300053232      Pope                          X
   Jordan             Davis    012300053216      Pope                          X



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                                                               Current SSA   Current SSA
 Claimant          Claimant
                                 Case Number     Arbitrator    Accepted By   Accepted By
First Name        Last Name1
                                                                Purchase       Pop-Up
   Daniel             Ducos      012300053215       Pope                         X
  Jeremy              Flippo     012300053218       Pope                         X
   Guido            Gonzalez     012300053239       Pope                         X
  William             Griffin    012300053223       Pope           X
  William           Holmes       012300053217       Pope                         X
 Chandlin        Husain Husain   012300053240       Pope                         X
  Timothy           Johnson      012300053242       Pope
 Matthew              Jones      012300053227       Pope
 Benjamin            Jordan      012300053243       Pope                         X
    John               Knirr     012300053228       Pope                         X
   Austin           Mcmillan     012300053235       Pope                         X
   Aaron            Pearson      012300053231       Pope           X
  Vincent           Rebokus      012300053222       Pope                         X
 Stephen           Robertson     012300053230       Pope
  Gabriel           Santana      012300053234       Pope                         X
     Ian              Smith      012300053233       Pope                         X
   Aaron            Solomon      012300053221       Pope                         X
  Zachary             Taylor     012300053220       Pope                         X
   James           Weymouth      012300053226       Pope
  Joshua           Whiteacre     012300053244       Pope                         X
 Benjamin            Conrad      012300053129    Quintanilla
  Randall             Farley     012300053134    Quintanilla                     X
Neil Andrew        Francisco     012300053127    Quintanilla                     X
   Austin             Henry      012300053128    Quintanilla                     X
   Steven            Jennett     012300053126    Quintanilla                     X
    Alicia          Marshall     012300053133    Quintanilla
   Jacob             Phillips    012300053135    Quintanilla                     X
 Abrahim           Ramadan       012300053132    Quintanilla                     X
   Ethan             Scifers     012300053125    Quintanilla                     X
  Thmoas            Wiseman      012300053130    Quintanilla                     X
    Zaid           Abuwandi      012300053286     R. Brown                       X
   Steven            Armant      012300053279     R. Brown                       X
   Adam              Bernal      012300053303     R. Brown
Shountasia           Bevins      012300053283     R. Brown                       X
  Xander          Brende-prins   012300053278     R. Brown                       X
  Zachary             Burry      012300053277     R. Brown                       X
  Denver            Dubhorn      012300053295     R. Brown                       X
   David            Graham       012300053284     R. Brown                       X



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                                                            Current SSA    Current SSA
 Claimant          Claimant
                                Case Number    Arbitrator   Accepted By    Accepted By
First Name        Last Name1
                                                             Purchase        Pop-Up
 Alexander           Grow      012300053298    R. Brown                        X
   Shane          Kachman      012300053301    R. Brown                        X
    Grant           Kegley     012300053293    R. Brown
     Paul          Kiernan     012300053290    R. Brown                        X
  Brandon           Kimpel     012300053296    R. Brown                        X
  Andrew          M Evenson    012300053282    R. Brown                        X
    Drew          Merriman     012300053276    R. Brown                        X
    Jared          Moreno      012300053302    R. Brown         X
    Jacob           Pullen     012300053292    R. Brown                        X
    David           Richey     012300053299    R. Brown                        X
     Tyler          Salyer     012300053280    R. Brown                        X
   Robert          Stillman    012300053291    R. Brown                        X
 Nicholas           Stone      012300053287    R. Brown                        X
   Devon            Trujillo   012300053300    R. Brown
    Jacob           Walker     012300053289    R. Brown                        X
   Joshua           Webb       012300053281    R. Brown         X
   Daniel            West      012300053294    R. Brown                        X
    Chris          Bassford    012300053186    Radford                         X
     Jase           Busby      012300053187    Radford                         X
Christopher         Conrad     012300053213    Radford
 Alexander          Coren      012300053204    Radford          X
     John            Davis     012300053193    Radford                         X
  William           Dudley     012300053184    Radford                         X
 Matthew            Fowler     012300053196    Radford                         X
     Nels           Geary      012300053208    Radford                         X
   Renny           Herbert     012300053205    Radford
   Shaun             Howe      012300053185    Radford                         X
     Alex            Hyer      012300053203    Radford
  Jennifer           Jacks     012300053212    Radford                         X
    Chris             Jaus     012300053202    Radford
  Andrew            Kosko      012300053209    Radford                         X
   Joshua            Kranz     012300053199    Radford
     Alan           Lopez      012300053188    Radford                         X
 Jonathan           Lopez      012300053210    Radford                         X
  Natasha         Mccarthy     012300053190    Radford                         X
  Andrew           Mitchell    012300053198    Radford
  Michael           Mrgich     012300053207    Radford
    Kenny            Ortiz     012300053201    Radford



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                                                           Current SSA    Current SSA
 Claimant         Claimant
                               Case Number    Arbitrator   Accepted By    Accepted By
First Name       Last Name1
                                                            Purchase        Pop-Up
  Darian            Stark     012300053194     Radford                        X
  Lauren            Tyner     012300053183     Radford                        X
   Lloyd           Walker     012300053192     Radford                        X
    Mark           Wendt      012300053189     Radford                        X
 Thomas             Byrd      012300053796      Reid                          X
  James             Pruitt    012300053236      Reid                          X
 Samuel          Whiddon      012300053229      Reid
   Brian         Baskovich    012300053047      Rubin                         X
    Jack           Cleary     012300053042      Rubin
Brennan          Coleman      012300053049      Rubin
    Max             Kurtz     012300053041      Rubin
   Scott           Lewis      012300053048      Rubin                         X
Graysen          Mcgilligan   012300053045      Rubin                         X
   Gavin            Moye      012300053046      Rubin                         X
 Nathan            Pippin     012300053050      Rubin                         X
 Cristian         Raynes      012300053043      Rubin                         X
  Joshua         Rodriguez    012300053044      Rubin                         X
   Aaron          Vaughn      012300053040      Rubin                         X
  Daniel            Wirth     012300053052      Rubin                         X
 Jennifer        A Nelson     012300053436     Rundle
   Jacob          Barnhill    012300053449     Rundle                         X
  Joshua          Bosman      012300053252     Rundle
   Scott         Brewster     012300053257     Rundle
 Michael           Calloni    012300053439     Rundle
   Peter             Cila     012300053438     Rundle                         X
 Marcus           Crowley     012300053255     Rundle
   Sean             Dolle     012300053251     Rundle                         X
 Michael           Dufour     012300053253     Rundle                         X
   Paolo          Galupo      012300053435     Rundle                         X
Augustus           Gerbo      012300053250     Rundle                         X
   Jared         Hardison     012300053447     Rundle
    Mark           Henley     012300053432     Rundle                         X
Jonathan          Hillman     012300053258     Rundle                         X
 William          Jackson     012300053429     Rundle                         X
   Kolby           Louks      012300053443     Rundle                         X
  Martin          Mendez      012300053441     Rundle
    Ray            Miller     012300053440     Rundle                         X
 Andrew           Osborne     012300053442     Rundle                         X



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                                                              Current SSA   Current SSA
 Claimant         Claimant
                                 Case Number     Arbitrator   Accepted By   Accepted By
First Name       Last Name1
                                                               Purchase       Pop-Up
    Eric           Partlow       012300053445     Rundle                        X
  Morgan           Rushing       012300053444     Rundle
     Kai          Trobaugh       012300053428     Rundle
    Jack             Uteg        012300053431     Rundle
   Veda             Valles       012300053446     Rundle                        X
    Brad           Wilson        012300053434     Rundle                        X
 Stephen           Adams         012300053378     Samas                         X
   David            Arroyo       012300053371     Samas                         X
  Garrett           Athay        012300053391     Samas                         X
  Edwin             Ayala        012300053387     Samas                         X
 Brandan          Christner      012300053366     Samas                         X
   Ethan        Cowan-wright     012300053390     Samas                         X
  Sydney        Cutler-gilbert   012300053377     Samas                         X
   Dylan        Fleckenstein     012300053388     Samas                         X
    Tyler          Freehill      012300053379     Samas
  James            Gallant       012300053385     Samas           X
   Bryce            Goens        012300053370     Samas                         X
   Ralph          Gonzales       012300053364     Samas                         X
   Jacob           Graves        012300053367     Samas                         X
  Andres         Hernandez       012300053381     Samas                         X
   Travis           Hickey       012300053382     Samas                         X
   Jared           Huggett       012300053384     Samas                         X
    John          Marcotte       012300053386     Samas                         X
   Sean            Mitchell      012300053365     Samas                         X
  Daniel            Morris       012300053369     Samas                         X
  Marcus           Pettway       012300053374     Samas                         X
    Joel         Sandkamp        012300053373     Samas                         X
 Zackery          Sessions       012300053376     Samas           X
   Brian         Sherwood        012300053372     Samas                         X
Alexander          Thomas        012300053389     Samas                         X
    Ryan            Tutor        012300053375     Samas
 Brennan          Anderson       012300057445     Saydah
  Harris            Banks        012300053832     Saydah          X
   Katie            Clark        012300053833     Saydah
   Sean             Duan         012300053843     Saydah                        X
Jhonnatan         Enriquez       012300057448     Saydah          X
  Alfredo         Gonzalez       012300053839     Saydah                        X
  Corbin            Holm         012300053844     Saydah                        X



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                                                             Current SSA   Current SSA
 Claimant          Claimant
                                Case Number     Arbitrator   Accepted By   Accepted By
First Name        Last Name1
                                                              Purchase       Pop-Up
     Erik         Knooihuizen   012300057443    Saydah
    John           Lapaglia     012300053835    Saydah                         X
   Jacob            Loomis      012300057464    Saydah                         X
  William         Mac Dougall   012300053841    Saydah                         X
  Joseph          Martinolich   012300053831    Saydah
  Joshua             Obrien     012300053837    Saydah
    John              Otey      012300053829    Saydah                         X
  Joshua            Pedrick     012300057444    Saydah                         X
     Noe            Rosales     012300053613    Saydah                         X
    Ryan            Schultz     012300053830    Saydah                         X
  Donald            Spinelli    012300053840    Saydah
   Caleb             Theriot    012300057463    Saydah                         X
Christopher            Toft     012300053842    Saydah                         X
   Jeffrey          Trodden     012300053834    Saydah
   Josiah          Wilkerson    012300053828    Saydah
     Kyle          Womack       012300053845    Saydah                         X
    Cade            Azarcon     012300052876    Schmitz                        X
     Rob            Baldwin     012300053514    Schmitz
   Aaron             Briggs     012300052874    Schmitz
Johnathon             Eimer     012300052852    Schmitz
  Natalie            Fields     012300057456    Schmitz
 Cameron             Lester     012300052988    Schmitz                        X
      Ian            Trefren    012300052864    Schmitz                        X
    Cary              Miller    012300053005     Silak
  Thomas          Abbruzzese    012300053479    Sperow                         X
   David             Antolic    012300053498    Sperow
     Jose           Aranda      012300053494    Sperow                         X
   Carter             Baker     012300053490    Sperow                         X
   Gavin           Borchers     012300053481    Sperow                         X
 Alexander          Brumley     012300053501    Sperow
   James              Davis     012300053499    Sperow           X
   Collin             Evans     012300053493    Sperow                         X
  Anthony          Galatolo     012300053491    Sperow                         X
  Vincent           Keegan      012300053504    Sperow                         X
  Jeremy           Kirkwood     012300053480    Sperow                         X
   Robert             Lewis     012300053488    Sperow                         X
    Kevin           Montes      012300053487    Sperow
    Jared            Myers      012300053500    Sperow                         X



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                                                                Current SSA   Current SSA
  Claimant           Claimant
                                   Case Number     Arbitrator   Accepted By   Accepted By
 First Name         Last Name1
                                                                 Purchase       Pop-Up
    Caleb              Orella      012300053492     Sperow          X
   Zachary            Parsley      012300053485     Sperow
    Brady               Paul       012300053478     Sperow                        X
Timothy Pablo        Penaranda     012300053503     Sperow          X
     Hugh             Phillips     012300053496     Sperow                        X
    Carson           Plaisance     012300053489     Sperow                        X
      Jeff         Ramirez Ochoa   012300053483     Sperow
    Simon              Savlas      012300053484     Sperow                        X
  Alexander          Schlosser     012300053505     Sperow                        X
   Nicholas            Tynes       012300053502     Sperow                        X
      Leo             Blondel      012300053602     T. Brown
  Johnathon             Bush       012300053599     T. Brown                      X
     Scott            Eskridge     012300053598     T. Brown                      X
     Riley             Griffith    012300053601     T. Brown                      X
   Michael            Gualtieri    012300053595     T. Brown                      X
     Evan              Piepho      012300053600     T. Brown                      X
    Steven            Stucker      012300053594     T. Brown
   William           Marcellus     012300053350    Thompson                       X
     Isaac             Sellers     012300053482    Thompson




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